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   5   E-mail: jdillon@gdandb.com
   6
       Attorney for Plaintiffs
   7

   8                          UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10

  11   MATTHEW JONES; THOMAS FURRH;                        Case No.: 3:19-cv-01226-L-AHG
       KYLE YAMAMOTO; PWGG, L.P. (d.b.a.
  12   POWAY WEAPONS AND GEAR and                          Hon. M. James Lorenz and Magistrate
  13   PWG RANGE); NORTH COUNTY                            Judge Allison H. Goddard
       SHOOTING CENTER, INC.; BEEBE
  14   FAMILY ARMS AND MUNITIONS LLC                       DECLARATION OF JOHN W.
  15   (d.b.a. BFAM and BEEBE FAMILY                       DILLON IN SUPPORT OF
       ARMS AND MUNITIONS); FIREARMS                       PLAINTIFFS’ MOTION FOR
  16   POLICY COALITION, INC.; FIREARMS                    PRELIMINARY INJUNCTION
  17   POLICY FOUNDATION; CALIFORNIA                       (Part 1 of 2)
       GUN RIGHTS FOUNDATION; and
  18   SECOND AMENDMENT                                  Complaint Filed: July 1, 2019
  19   FOUNDATION,                                       Second Amended Complaint Filed:
  20                                         Plaintiffs, November 8, 2019
       v.
  21                                                       Date: Monday, December 16, 2019
       XAVIER BECERRA, in his official                     Time: 10:30 a.m.
  22
       capacity as Attorney General of the                 Courtroom: Dept. 5B (5th Floor)
  23   State of California, et al.,
  24                                      Defendants. No oral argument should be heard unless
                                                      ordered by the Court
  25
  26

  27

  28

                     DECLARATION OF JOHN W. DILLON IN SUPPORT OF PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-21 Filed 11/12/19 PageID.4544 Page 2 of 109




   1   I, John W. Dillon, declare as follows:
   2
             1.        I have personal knowledge of the facts stated herein and, if called as a
   3

   4   witness, could and would competently testify to such facts.

   5         2.        I have personally verified the documents described below and used the
   6
       factual information within each document in the drafting of the Points and Authorities
   7

   8   in Support of Plaintiffs’ Preliminary Injunction motion.

   9         3.        Attached hereto as Exhibit 1 is a true and correct copy of the U.S.
  10
       Department of Justice, Office of Justice Programs, “Bureau of Justice Statistics
  11

  12   Special Report: Age Patterns of Victims of Serious Violent Crime” (“BJS Report”).

  13         4.        Attached hereto as Exhibit 2 is a true and correct copy of the United
  14
       States Secret Service National Threat Assessment Center: Mass Attacks in Public
  15

  16   Space – 2018, Department of Homeland Security, Published July 2019.
  17         5.        Attached hereto as Exhibit 3 is a true and correct copy of School Climate
  18
       and Safety, 2015-16 Civil Rights Data Collection, Data Highlights on School Climate
  19

  20   and Safety in Our Nation’s Public Schools, U.S. Department of Education Office for
  21   Civil Rights.
  22
             6.        Attached hereto as Exhibit 4 is a true and correct copy of the digital
  23

  24   article, More than 228,000 students have experienced gun violence at school since
  25   Columbine, The Washington Post’s database of school shootings, The Washington
  26
       Post. Updated May 8, 2019. Available at:
  27

  28   https://www.washingtonpost.com/graphics/2018/local/school-shootings-database/.
                                                          2
                       DECLARATION OF JOHN W. DILLON IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-21 Filed 11/12/19 PageID.4545 Page 3 of 109




   1         7.    Attached hereto as Exhibit 5 is a true and correct copy of the digital
   2
       article, Three Decades of School Shootings: An Analysis – A comprehensive review of
   3

   4   nearly three dozen mass shootings, including Columbine, reveals some notable

   5   similarities, Tawnell D. Hobbs, The Wall Street Journal, published April 19, 2019.
   6
       Available at: https://www.wsj.com/graphics/school-shooters-similarities/.
   7

   8         8.    Attached hereto as Exhibit 6 is a true and correct copy of the digital

   9   article, Everything We Know About The San Bernardino Terror Attack Investigation
  10
       So Far, Los Angeles Times, published December 14, 2015. Available at:
  11

  12   https://www.latimes.com/local/california/la-me-san-bernardino-shooting-terror-

  13   investigation-htmlstory.html.
  14
             9.    Attached hereto as Exhibit 7 is a true and correct highlighted copy of the
  15

  16   U.S. Department of Homeland Security, United States Secret Service, National Threat
  17   Assessment Center: Protecting America’s Schools – A U.S. Secret Service Analysis of
  18
       Targeted School Violence, Published 2019.
  19

  20         10.   Attached hereto as Exhibit 8 is a true and correct highlighted copy of the
  21   Federal Bureau of Investigation, Criminal Justice Information Services Division, 2018
  22
       Crime in the United States data tables; including (i) Expanded Homicide Data Table 3
  23

  24   – Murder: Offenders by age, sex, race, and ethnicity, 2018; (ii) Expanded Homicide
  25   Data Table 5 – Murder: Age of Victim by Age of Offender, 2018; (iii) Expanded
  26
       Homicide Data Table 6 – Murder: Race, Sex, and Ethnicity of Victim by Race, Sex,
  27

  28   and Ethnicity of Offender, 2018; (iv) Expanded Homicide Data Table 8 – Murder
                                                       3
                    DECLARATION OF JOHN W. DILLON IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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    1   Victims by Weapon, 2014-2018; (v) Expanded Homicide Data Table 9 - Murder
    2
        Victims by Age: by weapon, 2018; and (vi) Table 20 -Murder: By State, Types of
    3

    4
        Weapons Used.

    5         I declare under penalty of perjury that the foregoing 1s true and correct.
    6
        Executed within the United States on November 12, 2019.
    7



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    8


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                    D ECLARATION OF JOHN W. DILLON I N S UPPORT OF P LAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION
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   1                                      EXHIBITS
   2                                  TABLE OF CONTENTS

   3   Exhibit   Description                                                           Page(s)
   4
          1      U.S. Department of Justice, Office of Justice                      0001 – 0030
   5             Programs, “Bureau of Justice Statistics Special
                 Report: Age Patterns of Victims of Serious Violent
   6
                 Crime”
   7
          2      United States Secret Service National Threat                       0031 – 0051
   8             Assessment Center: Mass Attacks in Public Space –
   9             2018, Department of Homeland Security, Published
                 July 2019
  10
          3      School Climate and Safety, 2015-16 Civil Rights Data 0052 – 0070
  11
                 Collection, Data Highlights on School Climate and
  12             Safety in Our Nation’s Public Schools, U.S.
                 Department of Education Office for Civil Rights
  13

  14      4      More than 228,000 students have experienced gun                    0071 – 0078
                 violence at school since Columbine, The Washington
  15             Post’s database of school shootings, The Washington
  16             Post

  17      5      Three Decades of School Shootings: An Analysis –                    0079 - 0089
                 Tawnell D. Hobbs, The Wall Street Journal,
  18
                 published April 19, 2019
  19
          6      Everything We Know About The San Bernardino                        0090 – 0104
  20             Terror Attack Investigation So Far, Los Angeles
  21             Times, published December 14, 2015
  22      7      U.S. Department of Homeland Security, United States                 0105-0140
                 Secret Service, National Threat Assessment Center:
  23
                 Protecting America’s Schools – A U.S. Secret Service
  24             Analysis of Targeted School Violence
  25      8      Federal Bureau of Investigation, Criminal Justice                   0141-0153
  26             Information Services Division, 2018 Crime in the
                 United States data tables
  27

  28
                                                      5
                   DECLARATION OF JOHN W. DILLON IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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             EXHIBIT "1"




                                  EXHIBIT 1
                                    0001
                       1:=:1!
        Case 3:19-cv-01226-L-AHG
               ~                 Document 21-21 Filed 11/12/19 PageID.4549 Page 7 of 109
u.s. Department of Justice
Office of Justice Programs




   Bureau of Justice Statistics
   Special Report
                                                                                                                     July 1997, NCJ-162031




Age Patterns of Victims
of Serious Violent Crime
            By Craig A. Perkins
              BJS Statistician                 Highlights
                                               • Persons age 12 to 24 comprised:            • Persons age 18 to 21 were the most
Vulnerability to violent crime victimization      22% of the population,                    likely to experience a serious violent
varies across the age spectrum. The                35% of murder victims, and               crime, and blacks in that age group
victimization rate increases through the          49% of serious violent crime              were the most vulnerable:
teenage years, crests at around age 20,           victims.                                         72 victimizations per 1,000 blacks,
and steadily decreases through the re-         • Persons age 25 to 49 constituted:                 50 victimizations per 1,000
maining years. This pattern, with some            47% of the population,                           Hispanics, and
exceptions, exists across all race, sex,           53% of murder victims, and                      46 victimizations per 1,000 whites.
and ethnic groups.                                44% of serious violent crime
                                                  victims.                                  • More than 52% of all rape/sexual as-
For 1992-94, the rate of serious violent       • Persons age 50 or older made up:           sault victims were females younger than
crime ranged from 37 per 1,000 persons             30% of the population,                   25.
age 12 to 14, to 50 per 1,000 persons              12% of murder victims, and
age 18 to 21, to 3 violent crimes per              7% of serious violent crime              • Almost 1 In 10 murder victims age 18
1,000 persons age 65 or older. Crime               victims.                                 to 21 were black.
rates for individuals age 18 to 21 were
17 times higher than for persons age 65             Violent crime rates by age
                                                    Adjusted victimization rate per 1,000 persons
or older.                                           age 12 and older                                                               Age
                                                    125                                                                            16-19
This report examines serious violent                                                                                               12-15
crime across different age groups,
                                                                                                                           . '20-24
focusing on persons younger than 25
from 1992 through 1994. It highlights
key facts about serious violent crime,               75
grouped by age, race, and sex.
                                                                                                " ' - - - - - - : - : . · ,25-34
                                                     50
Serious violent crimes include rape and                                                                                 .·· .· :35-49
sexual assault, robbery, and aggravated
assault, as measured by the National                 25
                                                                                                                              . 50-64
Crime Victimization Survey (NCVS), and
murders from data reported by law en-                 0 -----~---"---_--..........:=_=_-_-=_=----.~ 65+                 ..,. .·.
                                                      1973  1977   1982       1987           1992 1994
forcement agencies to the FBI.
                                                     Note: Violent crimes included are homicide, rape, robbery, and both simple and
                                                     aggravated assault. The light gray area Indicates that because of changes made
                                                     to the victimization survey, data prior to 1992 are adjusted to make them comparable
                                                   · to data collected under the redesigned methodology. The adjustment methods are
                                                     described in Criminal Victimization 1973-95.




                                                                            EXHIBIT 1
                                                                              0002
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The Bureau of the Census, under the supervision of the           All serious violent crimes: Murder, rape,
Bureau of Justice Statistics (BJS), conducts the NCVS            sexual assault, robbery, and aggravated assault
which interviews approximately 50,000 households. Annu-
ally the NCVS measures crimes not reported as well as              Rates of serious violent crime
those reported to police.                                          per 1,000 persons
                                                                   60r--------------------------------,
Each year between 1992 and 1994, U.S. residents age 12             ssr-------------------------------~
or older experienced about 4.3 million serious violent vic-        50 1-------,
timizations on average. Persons age 12 to 24 suffered              45
about 49% (2 million) of the total, although they made up          40
less than a quarter of the U.S. population age 12 or older.        35
Individuals age 40 or older were 47% of the general popula-        30
                                                                   25
tion but sustained 19% of the serious violent victimizations.
                                                                   20
                                                                   15
Persons younger than 25 were the most vulnerable to seri-
                                                                   10
ous violent crime, regardless of how age patterns were
                                                                    5
analyzed. Rates controlling for population show the young
                                                                    0
with the highest number of victimizations per 1,000 Individu-              12-   15-     18-    22-    25- 30- 35-            40-    50-   65 or
als. Considering only adolescents and adults, the average                  14    17      21     24     29     34    39        49     64    older
                                                                                                      Age of victim
age of violent crime victims Is almost 11 years below the
average age of the whole population, because of the over-        Rates of serious violent crime for 18-21 year olds --17
representation of the young among crime victims.                      times higher than for persons age 65 or older.
                                                                 Persons between ages 12 and 24 --less than a fourth
The Highlights graph of trends presents age categories                of the U.S. population age 12 or older, almost half
usually used in BJS reports; however, the remaining find-             of all serious victimizations.
ings have age groupings identified with stages of life in the    Persons age 40 or older-- almost half of the population
United States. This modified grouping is meant to help                age 12 or older, less than a fifth of the serious violent
account for different life styles:                                    victimizations.
• Persons age 12 to 14 are generally in junior high school.
• Youth age 15 to 17 are in high school.                                    The average age of U.S. residents
• Ages 18 to 21 include persons who have left high school                   age 12 or older was a,.r--:m_o,.s..,.t4c:-1~::---:---,-,--------:--'l
and are enrolled in college or technical school or are                      Overall U.S. population
                                                                                                         ~---~~~~~~~
seeking or starting jobs.                                          The average age of victims of serious violent
• Young adults age 22 to 24 are those individuals who have         crimes other than murder was 30 or under
left college and are just beginning a career.                                                  Murder
• Persons age 65 or older represent residents who have                                                   p':::::'i::;::±:::j=;:=;'--'J'I
probably retired.

Also, there are too few sampled cases to analyze the age
distribution of minority victims of rape or sexual assault (an
estimated 1.1 million rapes of white non-Hispanic females,
                                                                                                        0    5 10 15 20 26 30 35 40 45
236,000 rapes of black non-Hispanic females, and 121,000
                                                                                                                           Aver~e~e
rapes of Hispanic females for the 3-year period).

Although Hispanics are not a race, they are presented as a        On average each year, from 1992 to 1994, about 1 in 50
separate category within the racial categories.                   persons fell victim to a serious violent crime; among
                                                                  persons age 12 to 24, 1 in 23.
                                                                                       Number of ~arsons In the ~o~ulation for each victim
                                                                  Age             All serious             Rape/
                                                                  of              violent                 sexual                  Aggravated
                                                                  victim          crime        Murder assault         Robbery assault
                                                                   Total                50         9,241        416          164             86

                                                                  12to24                23        5,945         168           83             39
             Indicates victimization Information                  25 to 34              42        6,170         378          132             73
             other than that about age                            35 to49               67       10,891         591          219            116
             patterns of victims.                                 50 or older          424       23,376       4,272          494            424



2 Age Patterns of Victims of Serious Violent Crime




                                                                            EXHIBIT 1
                                                                              0003
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Murder                                                                          Rape or sexual assault


 Rates of murder                                                                  Rates of rape or sexual assault
 per 1,000 persons                                                                per 1,000 persons (mae and female)
  0.3 , - - - - - - - - - - - - - - - - - -                                       14.------------------------




                                                                                   6
   0.1
                                                                                   4
 0.05                                                                              2

     0                                                                             0
           12-   15-     18-    22-     25- 30- 35-         40-   50- 65 or
           14    17      21     24      29     34 39        49    64 older              14    17       21   24    29     34    39    49    64
                                      Age of victim                                                              Age of victim

Persons under age 25- 22% of the general population-                            Slightly more than a fifth of all rape/sexual assault victims
     account for 35% of murder victims.                                               were age 18 to 21. The average age for victims
The youngest and oldest of the population had the lowest                              was 27.
     rates of murder-less than 0.05 per 1,000 persons.                          Rates of rape/sexual assault for individuals 18 to 21 were
The pattern of murder victims resembles that of victims of                            almost 2112 times higher than those for age 25 to 29.
     other serious violent crimes- rates increasing from                        Persons age 50 or older- almost a third of the general
     the very young, cresting at ages 18 to 21, then                                  population age 12 or older--comprised 3% of
     decreasing.                                                                      rape/sexual assault victims.
                                                                                Rape or sexual assault (female)
     Murder, the least frequent violent crime, victimized
     fewer than 1 in 1,000 persons, age 12 or older                                1 in 89 females 12·24 were rape/sexual assault victims
                                                                                            Rates per 1,000femaes
                                                                                                14                ----------------~
                       Murder                                                                   12
                                                                                                10
                                                                                                   8

                   Robbery                                                                         6
                                1'-'"-r---'.---.--'->~--1                                          4
         Aggravated assault                                                                        2
                                t::::::c:::i::::I==r:::::::c::':I==::J:::==CJ
                                                                                                   0
                                0 1 2 3 4 5 6 7 8 9 10 11 12                                           12- 15- 18- 22- 25- 30- 35- 40- 50- 65 or
                                       Rates per 1,000 persons                                         14 17 21 24 29 34 39 49 64 older
                                                                                                                     Age of victim

                                                                                       Persons under 25 made up almost 50% of every-
 Victims of murder, on average, were the oldest of                                     one suffering a serious violent crime and almost
 serious violent crime victims. Over half of all murder                                56% of rape/sexual assault victims.
 victims were age 30 or younger (compared with age                                                                              Percent of victims
 25 for victims of other serious violent crimes).                                                       Percent of   All violent Rape/sexual
                                                                                       Age of victim    population   crime        assault         Robbery
                 Serious                     Median age                                  Total             100%          100%         100%         100%
                 violent offense             of victim                                 12to 14                5%          10%            8%         11%
                                                                                       15to 17                5           12            12          10
                 Murder                           29                                   18to21                 7           17            21          14
                 Rape/sexual assault              23                                   22 to 24               5           11            14            9
                 Robbery                          26                                   25 to 29               9           13             9           12
                 Aggravated assault               25                                   30 to 34              11           11            13           12
                                                                                       35 to 39              10             8            9            8
                                                                                       40 to49               17           12            10           12
                                                                                       50 to 64              16             5            2            6
                                                                                       65 or older           15             2             1           4

                                                                                         Age Patterns of Victims of Serious Violent Crime 3




                                                                                       EXHIBIT 1
                                                                                         0004
         Case 3:19-cv-01226-L-AHG Document 21-21 Filed 11/12/19 PageID.4552 Page 10 of 109

Robbery                                                          Aggravated assault


 Rates of robbery                                                  Rates of aggravated assam
 per 1,000 persons                                                 per 1, ooo persons
 14                                                                30
 12
                                                                   25
 10
                                                                   20
  8
                                                                   15
  6

  4                                                                10

  2                                                                 5

  0                                                                 0
        14


Robbery is completed or attempted theft, directly                Aggravated assault includes attacks with a weapon, with
      from a person, by force or threat of force,                       or without injury and attacks without a weapon that
      with or without a weapon, and with or without injury.             result in serious injury such as broken bones, Joss
Half of all robbery victims were age 26 or younger;                     of teeth, internal injuries, or Joss of consciousness
      the most vulnerable to robbery were the young.                    -or an undetermined injury requiring 2 or more
Persons age 21 or younger- slightly Jess than a fifth                   days of hospitalization.
      of the general population -suffered close to half
      of all robberies.

  Age patterns of robbery victims fall Into 6 distinct ranges:
                                                                  Aggravated assault, the most frequent serious violent
  The 12-21 robbery rate Is 6 times that of 60 or older.
   Age of victim                                                       crime, made up over half of all such crimes.
      12 to21      .'·    '.··    ;
                                                       I          On average between 1992 and 1994, about 1 in every 2
                         1                                             persons who reported an aggravated assault was
        22 to24          .'·                    ,_
                                                                       younger than 25.
                         J                                        Persons age 50 or older- almost a third of the
        25to 34                             .

                         l         _L                                  population over age 11 -were 6% of aggravated
        35 to 49 I.            '
                                        I                              assault victims.
                                                                  Each year 1992-94, on average, persons age 12 to 24
      50 or older   tj             I                                   sustained about 1,200,000 aggravated assaults,
                                                                       compared to 1,100,000 for persons age 25 to 49,
                    0    2     4     6     8     10 12 14
                        Approximate rates per 1,ooo persons            and 151,000 for those 50 or older.


                                                                         Annual average number of victimizations, 1992-94
1 in every 79 persons age 12 to 21 were robbery victims,
      compared to 1 in every 211, age 22 or older.                       1,500,000   1------------
Between 1992 and 1994, U.S. residents age 12 or older                    1,250,000
      experienced an annual average of about 1.3 million
                                                                         1,000,000
     robberies.
The average number of robberies each year was-                            750,000
     457,000 among persons age 12-21                                      500,000
     118,000 for age 22-24                                                250,000
     319,000 for age 25-34
                                                                                 0
     263,000 for age 35-49, and                                                         12·24        25-49           50+
     130,000 for age 50 or older.                                                                  Age of victim
                                                                          •     Aggravated D Robbery           IIIII Rape/sexual
                                                                                assault                              assault
                                                                          Murder (not shQMl): 8,021, 12,129, and 2,743 victims for
                                                                          each age category.
4 Age Patterns of Victims of Serious Violent Crime




                                                                          EXHIBIT 1
                                                                            0005
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Serious violent crime, by race and Hispanic origin                                 Murder, by race

    Rates of serious violent crime
    per 1,000 persons                                                               Rates of murder
                                                                                    per 1,000 persons
    80                                                                              1.20
                                                               D       WhUe         1.10                                                         IDWhite
                                                                                                                                                 ~.Black
    70
                                                               •       Black        1.00
    80                                                         D       Hispanic     0.90
                 -                                                                  0.80
    50
                                                                                    0.70
    40                                                                              0.60
                                                                                    0.50
    30                                    1-
                                                                                    0.40
    20


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                                                                l
                                                          ~ lilf.ll
                                                                                    0.30
                                                                                    0.20
                                                                                                                                                 •
                                                                                                                                                ·~
    10
                                                                                    0.10
     0                                                                              0.00   -Ill         I         I      II    I      I         1,.~
           12-        15-    18-    22-     25- 30. 35-        40.     50. 65 or           12-    15-       18-       22- 25- 30.         35-   40-   50. 65 or
           14         17     21     24      29   34 39         49      64 older            14     17        21        24 29 34            39    49    64 older
                                           AQeofvlctim                                                                   Ageofvidlm
Blacks and Hispanics across all age groups were more                               For whites and blacks, persons 18 to 21 were most
     at risk from violence than whites of comparable age                                at risk of becoming a murder victim.
     - 1 in 30 blacks, 1 in 35 Hispanics, and 1 in 58                              Murder rates for blacks were 8 times higher than
     whites, from 1992 to 1994.                                                         for whites - 1 In every 894 and 1 in every 7,334
For 18-to-21 year olds, 1 In 14 blacks, 1 in 20 Hispanics,                              persons, respectively.
     and 1 in 22 whites experienced a serious violent                              Blacks, about 12% of general population, comprised
     victimization.                                                                     51% of murder victims. Almost 1 in 10 of black
                                                                                        murder victims were age 18 to 21.


Serious violent crime, by sex of victim                                            Murder, by sex of victim
  1 in 41 males and 1 in 62 females were violent crime victims                           1 in 10 murder victims were males, 18 to 21
             Rates per 1,000 persons                                                         Rates per 1, 000 perscns
                     60.-------------.--------,                                                  0.50 , - - - - - - - - - - - , - - - - - - - -
                     50
                                                    D     Male                                   0.45 f-----,-y----
                                                    •     Female                                 0.40
                     40                                                                          0.35
                                                                                                 0.30
                     30                                                                          0.25
                                                                                                 0.20
                     20
                                                                                                 0.15
                     10                                                                          0.10
                                                                                                 0.05
                     0                                                                           0.00 ~~~~~~~~~~~~



  Blacks and to a lesser degree Hispanics were over-                               Murder rates for males 18 to 21 were 6 times higher than
  represented among victims, relative to their propor-                                  for their female counterparts. Rates for men 65 or
  tion of the general population age 12 or older.                                       older were 1Y, times higher than for their female
                                          Percent                                       counterparts.
  Racial/ethnic             Population       Victims of              Rates per     The average age for male murder victims was 32, com-
  groups                    age 12 or older serious violence         1,000              pared to the female murder victim's average age
   Total                           100%            100%                  20             of 37.
  White                             77%             65%                  17        White murder victims had an average age of 35, while
  Black                             12              20                  34              black murder victims had an average age of 30.
  Other                      3                       4                  24         Over half of black murder victims were 29 or younger,
  Hispanic                   8                      12                  29
                                                                                        compared to over half of white victims, 32 or older.
  Note: Whites, blacks, and others exclude Hispanics.




                                                                                           Age Patterns of Victims of Serious Violent Crime 5




                                                                                           EXHIBIT 1
                                                                                             0006
        Case 3:19-cv-01226-L-AHG Document 21-21 Filed 11/12/19 PageID.4554 Page 12 of 109

Robbery, by race and Hispanic origin                                          Aggravated assault, by race and Hispanic origin
   Rates of robbery                                                             Rates of aggravated assault
   per 1,000 persons                                                            per 1,000 persons
   40.-----------------------,-------~                                          40
                            0White                                                                                                         0White
   35~-----------------------4                                                  35
                            • Black                                                                                                        • Black
                                                                                30      1---        -
   30~--------------------~
                            D Hispanic                                                                                                     D Hispanic
   25~-----=------------~======~                                                25
   20~~-------------------------------~                                         20
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        12-        15-   18-   22-    25- 3(). 35-     40-     50- 65or
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                                                                                                                                                    50- 65 or
        14         17    21    24     29 34 39         49      64     older           14      17        21 24      29 34 39               49        64 older
                                     Age of victim                                                                Age of victim
Blacks and Hispanics under age 22 had robbery rates ap-                       Slightly more than 1 in every 60 blacks, 1 in every 63
     proximately twice those for whites --1 in 48, 1 In 57,                         Hispanics, and 1 in every 96 whites were
     and 1 in 101 respectively, from 1992 to 1994.                                  aggravated assault victims.
Robbery rates for blacks peaked twice, for ages 18 to 21                      Blacks and Hispanics-- 20% of the general population--
     and 30 to 34, at 24 robberies per 1,000 blacks-- at 5                          were about 28% of aggravated assault victims .
     times the rate for age 50 or older, 5 per 1,000.                         The average age of aggravated assault victims was 25
The average age for robbery victims was about 30 for                                for Hispanics, 26 for blacks, and 29 for whites.
     whites and blacks, and 28 for Hispanics.

Robbery, by sex of victim                                                     Aggravated assault, by sex of victim
   Almost 1 in 10 robbery victims were males 18 to 21                         For 18 to 21, men twice as likely as women to be victimized
              Rates per 1,000 persons                                                       Rates per 1,000 persons
              20
              18
              16
              14
                                           I .Male
                                           ID       Female
                                                                                             40.-~-=.-------~-------,

                                                                                             35
                                                                                             30
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                                                                                                          Male
                                                                                                          Female
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              12                                                                             25~~~~----~====~
              10                                                                             20~~---~~~--------~
               8                                                                             15



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                                                                                               0
                    12- 15- 18- 22- 25- 30- 35- 40- 50-65 or                                        12- 15- 18- 22· 25- 30- 35- 40- 50-65 or
                    14 17 21 24 29 34 39 49 64 older                                                14 17 21 24 29 34 39 49 64 older
                                  Age of victim                                                                    Age of victim

Boys 12 to 14 and young women 18 to 21 reported the                           Minority victims of aggravated assault were relatively
     highest rates for robbery.                                               younger than white victims.
About 1 in every 54 boys age 12 to 14 was a robbery                           Aggravated assault                Percent of gogulation                 Rates per
     victim, compared to 1 in every 473 men age 65 or                         victims' race and age           General            Victim               1,000
     older.                                                                          White                        100%                  100%             10
                                                                                     12to 24                       20                    47              24
The average ages for male and female robbery victims                                 25 to 34                      19                    25              14
     were at least 10 years younger than the average age                             35 to 49                      27                    21               8
     of males and females in the general population.                                 50 oroider                    33                     7               2
                                                Average age                          Black                        100%                  100%             17
                                             Male            Female                  12 to24                       28                    53              31
                                                                                     25 to 34                      22                    23              17
    General population 12 or older           40 yrs            42yrs                 35 to 49                      27                    20              13
    Robbery victims                          30                31                    50 or older                   23                     5               3
                                                                                     Hispanic                     100%                  100%             16
                                                                                     12 to24                       33                    61              29
                                                                                     25 to 34                      26                    19              12
                                                                                     35 to 49                      24                    17              11
                                                                                     50 or older                   17                     4               3

6 Age Patterns of Victims of Serious Violent Crime




                                                                                      EXHIBIT 1
                                                                                        0007
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Methodology

Except for homicide data provided by the Uniform Crime
Reports, the tables in this report include data from the re-     The Bureau of Justice Statistics is the statistical agency
designed National Crime Victimization Survey (NCVS) for          of the U.S. Department of Justice. Jan M. Chaiken,
1992, 1993, and 1994. The NCVS obtains information               Ph.D., is director.
about crimes, including incidents not reported to police,
from a continuous, nationally representative sample of           BJS Special Reports address a specific topic In depth
households in the United States. Approximately 50,000            from one or more datasets that cover many topics.
individuals age 12 or older are interviewed for the survey
annually.                                                        Craig A. Perkins wrote this report. Patsy Klaus provided
                                                                 analytical and programming assistance; Cathy Maston
Calculations of NCVS rates                                       provided statistical review; and Diane Craven reviewed
                                                                 the computer programs. Rhonda Keith produced and
The rates in this report were annual average rates for           edited the report, supervised by Tom Hester. Marilyn
1992-94. The numerator of a given rate was the sum of the        Marbrook, assisted by Jayne Robinson and Yvonne
estimated victimizations that occurred for all three years for   Boston, administered final production.
each respective demographic group; the denominator was
the sum of the annual population totals for these same           July 1997, NCJ-162031
years and demographic groups.

Calculations of NCVS ratios                                      Links to the data for the graphics of this report can be
                                                                 immediately accessed and viewed on the Internet. This
The ratios in this report were annual average ratios. The        report and many of its data, as well as other reports and
numerator of the given ratio was the sum of the annual           statistics, are found at the Bureau of Justice Statistics
population totals for all 3 years for each respective demo-      Internet World Wide Web site:
graphic group; the denominator was the sum of the esti-          http://www .ojp .usdoj.gov/bjs/
mated victimizations that occurred for all 3 years for each
demographic. group.

Application of standard errors

The results presented in this report were tested to deter-
mine whether the observed difference between groups was
statistically significant. Comparisons mentioned in the re-
port passed a hypothesis test at the .05 level of statistical
significance (or the 95-percent confidence level), meaning
that the estimated difference between comparisons was
greater than twice the standard error of the difference.

Although the data in this report were collected over 3 years,
some estimates were based on a relatively small number of
sample cases, particularly for certain demographic groups.

Caution should be used when comparing estimates not dis-
cussed in the text because since seemingly large differ-
ences may not be statistically significant.




                                                                     EXHIBIT 1
                                                                       0008
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Violent crime rates by age
Adjusted victimization rate per 1,000 persons,
age 12 and older

    Year                                                       Age of victim
                     12-15          16-19          20-24          25-34           35-49          50-64           65+

    1973             81.8            81.7           87.6           52.4           38.8            17.2            9.1
    1974             77.5            90.6           83.5           58.6           37.5           15.5             9.5
    1975             80.3            85.7           80.9           59.5           36.9           17.8             8.3
    1976             76.4            88.8           79.7           61.5           35.9            16.1            8.1
    1977             83.0            90.2           86.2           63.5           35.8           16.8             8.0
    1978             83.7            91.7           91.1           60.5           35.8            15.0            8.4
    1979             78.5            93.4           98.4           66.3           38.2           13.6             6.2
    1980             72.5            91.3           94.1           60.0           37.4           15.6             7.2
    1981             86.0            90.7           93.7           65.8           41.6           17.3             8.3
    1982             75.6            94.4           93.8           69.6           38.6           13.8             6.1
    1983             75.4            86.3           82.0           62.2           36.5           11.9             5.9
    1984             78.2            90.0           87.5           56.6           37.9           13.2             5.2
    1985             79.6            89.4           82.0           56.5           35.6           13.0             4.8
    1986             77.1            80.8           80.1           52.0           36.0           10.8            4.8
    1987             87.2            92.4           85.5           51.9           34.7            11.4            5.2
    1988             83.7            95.9           80.2           53.2           39.1            13.4            4.4
    1989             92.5            98.2          78.8            52.8           37.3            10.5            4.2
    1990             101.1           99.1           86.1           55.2           34.4            9.9             3.7
    1991             94.5           122.6          103.6           54.3           37.2           12.5             4.0
    1992             111.0          103.7           95.2           56.8           38.1           13.2             5.2
    1993             118.4          114.2           91.2           57.9           42.1           17.0             5.6
    1994             113.0          120.5          97.7            60.4           39.1            15.1            5.1

Note: Violent crimes Included are homicide, rape, robbery, and both simple and aggravated assault. The light gray area
indicates that because of changes made to the victimization survey, data prior to 1992 are adjusted to make them
comparable to data collected under the redesigned methodology. The adjustment methods are described In Criminal
Victimization 1973-95.




                                                                               EXHIBIT 1
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  All serious violent crimes: Murder,
  rape, sexual assault, robbery, and
  aggravated assault
  Rates of serious violent crime
  per 1,000 persons
  Victims' age           Rate

  12to 14                 37
  15to 17                 47
  18to21                  50
  22 to 24                40
  25 to 29                27
  30 to 34                21
  35 to 39                16
  40 to49                 14
  50 to 64                  6
  65 or older               3




                                        EXHIBIT 1
                                          00010
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  • The average age of U.S. residents age 12 or
  older was almost 41.
  • The average age of victims of serious violent
  crimes other than murder was 30 or under.

                              Mean        Median

  Overall U.S. population     40.9          39


  Murder                      34.6          30
  Rape/sexual assault         26.6          23
  Robbery                     29.9          26
  Aggravated assault          27.8          25




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                                                      00011
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  Murder
  Rates of murder per 1 ,000 persons
  Victims' age        Rate

  12to 14             0.03
  15to 17             0.13
  18to21              0.26
  22 to 24            0.23
  25 to 29            0.18
  30 to 34            0.14
  35to 39             0.11
  40 to 49            0.08
  50 to 64            0.05
  65oroider            0.04




                                       EXHIBIT 1
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 Murder, the least frequent violent
 crime, victimized fewer than 1
 in 1,000 persons, age 12 or older.

 Violent crime         Total
 Murder                0.11
 Rape/sexual assault    2.4
 Robbery                6.1
 Aggravated assault     11.6




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                                        00013
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 Rape or sexual assault
 Rates of rape or sexual assault
 per 1,000 persons
 Victims' age         Rate

 12to 14              3.6
 15to 17              5.9
 1Bto21               7.6
 22 to 24             6.4
 25 to 29             2.2
 30 to 34             3.0
 35 to 39             2.1
 40 to 49             1.5
 50 to 64             0.3
 65 or older          0.1




                                   EXHIBIT 1
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 Rape or sexual assault
 1 in 89 females 12-24 were
 rape/sexual assault victims
 Rates per 1,000 females
 Victims' age       Rates

 12to 14              6.7
 15to 17               12
 18to 21             13.8
 22 to 24            11.8
 25 to 29             3.7
 30 to 34             5.4
 35 to 39             4.0
 40 to 49             2.6
 50 to 64             0.6
 65 or older          0.3




                                   EXHIBIT 1
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  Robbery
  Rates of robbery per 1,000 persons
  Victims' age          Rate

  12to 14               12.6
  15to 17               12.4
  18to21                12.8
  22 to 24              10.3
  25 to 29               7.9
  30 to 34               7.2
  35 to 39               4.9
  40 to49                4.4
  60 to 64               2.5
  65 or older             1.5




                                       EXHIBIT 1
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   Age patterns of robbery victims fall into
   5 distinct ranges: The 12-21 robbery
   rate is 6 times that of 50 or older.
   Approximate robbery rates
   per 1,000 persons
   Victim's age            Rate

   12to 21                     13
   22 to 24                    10
   25to 34                     8
   35 to 49                    5
   50 or older                 2




                                               EXHIBIT 1
                                                 00017
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  Aggravated asault
  Rates of aggravated assault
  per 1,000 persons
  VIctims' age          Rate

  12to 14               21.1
  15to 17               28.9
  18to21                29.3
  22 to 24              22.9
  25 to 29              16.7
  30 to 34              11.0
  35 to 39                9.2
  40 to 49                8.3
  50 to 64                3.4
  65 or older             1.2




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  Annual average number of victimizations, 1992-94

              Aggravated                         Rape/sexual
  Age         assault            Robbery         assault       Murder

   12to24       1,225,517        575,131             284,402   8,021
  25 to49       1,075,742        582,215             209,027   12,129
  50+             151,236        129,798              15,006   2,743




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  Serious violent crime, by race and Hispanic origin
                 Rates of serious violent crime per 1,000 persons
  Victims' age      White             Black            Hispanic

  12 to 14           31.0              58.6              51.2
  15to 17            42.9              56.7              57.0
  18to21             46.4              71.5              50.3
  22 to 24           38.6              50.0              36.5
  25 to 29           25.3              33.8              31.7
  30 to 34           19.0              40.0              17.0
  35 to 39           13.6              27.2              23.3
  40to 49            12.7              23.7              18.8
  50 to 64            5.5              10.9              10.5
  65 or older         2.3               6.2               8.2




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  Serious violent crime, by sex of victim
  1 in 41 males and 1 in 62 females were
  violent crime victims
                      Rates per 1,000 persons
  Victims' age        Male            Female

  12 to 14            45.4             28.7
  15 to 17            55.8             38.4
  18to21              58.0             41.9
  22 to 24            44.7             35.0
  25 to 29            31.1             23.0
  30 to 34            23.2             19.5
  35 to 39            19.6             13.0
  40 to 49            17.9             10.7
  50 to 64            7.9               4.8
  65 or older         4.1               2.1




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  Murder, by race
                 Rates of murder per 1,000 persons
  Victims' age       White               Black

  12 to 14            0.02                0.09
  15to 17             0.07                0.47
  18to21              0.11                1.08
  22 to 24            0.10                0.97
  25 to 29            0.09                0.73
  30 to 34            0.08                0.57
  35 to 39            0,07                0.42
  40 to 49            0.05                0.30
  50 to 64            0.04                0.16
  65 or older         0.03                0.14




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                                                       00022
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  Murder,       by sex of victim
  1 in 10 murder victims were males, 18 to 21
                          Rates per 1,000 persons
  Victims' age            Male            Female

  12to 14                 0.04             0.02
  15to 17                 0.22             0.04
  18to21                  0.45             0.07
  22 to 24                0.37             0.07
  25 to 29                0.29             0.07
  30 to 34                0.22             0.07
  35 to 39                0.17             0.05
  40 to49                 0.12             0.04
  50 to 64                0.08             0.02
  65 or older             0.05             0.03




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                                                      00023
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  Robbery, by race and Hispanic origin
                   Rates of robbery per 1,000 persons
  VIctims' age   White           Black           Hispanic

  12to 14         9.9            20.5              18.4
  15to 17         9.0            17.2              20.0
  18to21         10.4            24.3              15.2
  22 to 24        9.2            16.7              10.1
  25to 29         6.1            10.4              13.5
  30to 34         4.6            23.8               5.3
  35to 39         3.4            11.2               8.3
  40 to 49        3.3              9.9              8.1
  50 to 64        1.9              5.3              6.9
  65 or older     1.0              4.6              4.7




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  Robbery, by sex of victim
  Almost 1 in 10 robbery victims were males
  18 to 21
                     Rates per 1,000 persons
  Victims' age       Male            Female

  12to 14            18.4              6.5
  15to 17            16.5              8.2
  18to21             16.6              9.0
  22 to 24           12.1              8.5
  25 to 29            8.9              7.0
  30 to 34           10.1              4.4
  35 to 39            6.5              3.4
  40 to49             5.9              2.9
  50 to 64            3.5              1.6
  65 or older         2.1              1.1




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  Aggravated assault, by race and Hispanic origin
                 Rates of aggravated assault per 1,000 persons
  VIctims' age     White             Black           Hispanic

  12 to 14          18.0             31.4              29.1
  15to 17           27.2             35.3              32.9
  18to21            28.2             33.5              30.8
  22 to24           22.6             23.6              25.2
  25 to 29          16.5             21.8              16.4
  30 to 34          11.5             13.3               7.2
  35 to 39           8.0             12.5              13.4
  40 to49            7.7             12.6               9.4
  50 to 64           3.3              4.7               3.2
  65 or older        1.1               1.5              3.5




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                                                                   00026
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  Aggravated assault, by sex of victim
  For 18 to 21, men twice as likely as women
  to be victimized
                      Rates per 1,000 persons
  Victims' age        Male            Female

  12 to 14            26.4             15.5
  15to 17             39.1             18.2
  18to21              39.5             19.1
  22 to24             31.2             14.6
  25 to 29            21.1             12.3
  30 to 34            12.3              9.7
  35 to 39            12.8              5.5
  40to 49             11.6              5.1
  50 to 64             4.4              2.5
  65 or older          1.9              0.7




                                                EXHIBIT 1
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              Case 3:19-cv-01226-L-AHG Document 21-21 Filed 11/12/19 PageID.4575 Page 33 of 109
,11 serious violent crimes: Murder, rape, sexual assault,
·obbery, and aggravated assault

~ates   of serious violent crime per 1,000 persons

'ictims' age                        Rate



.2 to 14                              37

.5 to 17                              47

.8 to 21                              50

:2 to 24                              40

:5 to 29                              27

;Q   to 34                            21

;5 to 39                              16

,o to 49                              14

,Q to    64                             6

;5 or older                            3




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          Justice Statistics           Document                                 21-21 Filed 11/12/19 PageID.4576 Page 34 of 109
,ge Patterns of Victims of Serious Violent Crime
~ly 1997, NCJ-162031


'iolent crime rates by age

,djusted victimization rate per 1,000 persons, age 12 and older




'ear                    Age of victim

                        12-15        16-19         20-24        25-34        35-49       50-64   65+



973                     81.8         81.7          87.6         52.4         38.8        17.2    9.1

974                     77.5         90.6          83.5         58.6         37.5        15.5    9.5

975                     80.3         85.7          80.9         59.5         36.9        17.8    8.3

976                     76.4         88.8          79.7         61.5         35.9        16.1    8.1

977                     83.0         90.2          86.2         63.5         35.8        16.8    8.0

.978                    83.7         91.7          91.1         60.5         35.8        15.0    8.4

979                     78.5         93.4          98.4         66.3         38.2        13.6    6.2

.980                    72.5         91.3          94.1         60.0         37.4        15.6    7.2

981                     86.0         90.7          93.7         65.8         41.6        17.3    8.3

.982                    75.6         94.4          93.8         69.6         38.6        13.8    6.1

983                     75.4         86.3          82.0         62.2         36.5        11.9    5.9

984                     78.2         90.0          87.5         56.6         37.9        13.2    5.2

.985                    79.6         89.4          82.0         56.5         35.6        13.0    4.8

986                     77.1         80.8          80.1         52.0         36.0        10.8    4. 8

987                     87.2         92.4          85.5         51.9         34.7        11.4    5.2

988                     83.7         95.9          80.2         53.2         39.1        13.4    4. 4

.989                    92.5         98.2          78.8         52.8         37.3        10.5    4.2

'990                  101.1          99.1          86.1         55.2         34.4        9. 9    3.7

.991                    94.5        122.6        103.6          54.3         37.2        12.5    4.0

.992                  111.0         103.7          95.2         56.8         38.1        13.2    5.2

.993                  118.4         114.2          91.2         57.9         42.1        17.0    5.6

.994                  113.0         120.5          97.7         60.4         39.1        15.1    5.1



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rote: Violent crimes included are homicide, rape, robbery, and
Joth simple and aggravated assault. The light gray area
.ndicates that because of changes made to the victimization
:urvey, data prior to 1992 are adjusted to make them comparable
.o data collected under the redesigned methodology.  The
.djustment methods are described in Criminal Victimization
 973-95.




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             EXHIBIT "2"




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                          This report was prepared by !:he staff of !:he
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                                       Department of Homeland Security.




Mass Attach lll Public Spaces - 2018                 liMITED TO OPEN SOlTRC£ INFORMATION




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                                     MESSAGE FROM THE D .RECTOR

rn response to t.be actS of targeted Violence occurnng in this Nation, the U.S. SecreL SerVice National Threa1 Assessment
Cemer (NTAC) has published this research report uded, Mass Attacks in Public Spaces- 2018. The srudy was conducted for
the specific purpose of identifying key information that will enha.oce efforts to prevent these types of attacks. The reporr is
NTAC's second analysis of mass attacks carried out in public spaces, buUding upon the findings identified in its 20 17 report.

These acts have tmpacted the safety a.nd security ofd1e places where we work, learn, dine, and conduct our daily acoVities.
Each new tragedy, including the att«ck on a bank in Sebring. FL: a synagogue in Poway, CA; a university in Charlotte, NC;
and the munidpa.J center lo Vlrglota Beach, VA; serves a.s a reminder that we must continue 10 research and provide robust
rra.inlng and awareness to h elp prevent the.~e n·agic outcomes.

NTAC's research and publications directly support our agency's protective mjssion, as well as tile missio ns of d1ose
responsible for keeping ou r communirles safe. Through this report, NTAC alms to assist law enlorcemenr, schools. public
agencies, private orgaruzations, and others in understanding the motives. behavioral i.ncllcators, and situational factors of
those who carry out mass attacks.

Empowcnng public safety profess10oals to combat this ever-evolving threat is a priority for our agency. I commend our
cornmuniry parmers for their continued efforts. commirmem. a.nd determination to prevent targeted Violence within
the Homeland.




                                                     ~~ - ~~"?\
                                                      ]ames M. Murray "-J
                                                                     Director


The U.S. Secret Services Notional Tbre<rt Assasment Center (NTAC) was created in 1998 to provide guidance uo threat ossessmc~nt both within
tl1e U.S. Smet Service and 1'0 uthm with crimintrl justice and public safety responsibilities. Through rhe PresidenriCtl Thrcnl Protection Acl of
2000, Congress formally authorized NTAC to conduct research on threat a.ssessmcnt and various types of targeted violence: provide training on
threor assessment and targeted violence; facilitate information-sharing among agencies with protwiveand/ or public safety responsibilities: providr
case consultation on individual threat assessment investigations and for agencies building threut asstssment uni ts; and, dmlop programs to promote
the standardization of federal, stale, and locultbroot a.sscssrnent processes and investigations.




Man Attacks in Pubuc Spaces - 2UI8                  LIMJTED TO OPEN SOURCE LNFORMATION




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                                              INTROOUCTlON
On May 31, 2019, 12 innocent people were killed at the Virginia Beach Municipal Center in Virginia Beach, VA by an
attacker who had reportedly resigned from his position at the mw1icipal center earlier that day. While little else is yet
known publicly about the attacker or his motive, this act of mass violence is the most recent example of targeted violence
affecting a public space in the United States. Mitigating the risk of mass casualties from such an event requires the efforts
of everyone with a role in public safety; a responsibility that is not limited to law enforcement. Other community
stalkeholders may also be in a position to intervene, including workplace managers, school administrators, local officials,
and the mental health community, each of whom has a unique role to play in keeping communities safe.

To support these prevention efforts, the Secret Service National Threat Assessment
Center (NTAC) ts tasked with delivering research, training, consultation, and
information sharing on threat assessment and the prevention of targeted violence,
including targeted attacks directed al workplaces. houses of worship, schools, and
                                                                                              What is Threat Assessmeut?
other public spaces. The researd1 and information produced by NTAC guides not
only the Secret Service's approach to preventing assassinations, called threat                In the 1990s, the U.S. Secret
assessmellt, but also informs the communitywide approach needed to prevent                   Service pioneered the field of
incidents of targeted violence.'                                                                    threat assessment by
                                                                                               conducting research on the
This report is NTAC's second analysis of mass attacks that were carried out in                  targeting of public officials
public spaces, and it builds upon Mass Attacks iu Public Spaces- 2017 (MAPS-                      and public figures, The
2017). ln MAPS-201 7, NTAC found that attackers from that year were most                       agency's Threat Assessment
frequently motivated hy grievances related to their workplace or a domestic issue.                   Model offered law
All of the attackers had recently experienced at least one significant stressor, and         enforcement and others with
most had experienced financial instabil.ity. Over three-quarters of the attackers            public safety responsibilities a
had made threatening or concerning cornrounlcations, and a similar number had                     systematic investigative
elicited concern from others. Further, most bad histories of criminal charges,                      approach to identify
mental health symptoms, and/or illicit substance use or abuse.                                    individuals who exhibit
                                                                                                threatening or concerning
Witl1 this latest report, Mnss Attacks in Public Spaces - 2018 (MAPS-20 18), the              behavior, gather information
Secret Service offers further analysis and operational considerations to our                   to assess whether they pose
partners in public safety.' Between January and December 2018,27 incidents of                  a risk of harm, and identify
mass attacks - in which three or more persons were harmed - were carried out in              the appropriate interventions>
public spaces within the United States.3 In total, 91 people were killed and 107                resources, and supports to
more were injured in locations where people should feel safe, including                               manage that risk.
workplaces, schools, and other public areas.' The loss oflife an.d trawnatic nature
of these attacks had a devastating inlpact on the victims and their families, local
communities, and the entire nation.




Mass Attacks io Public Spaces- 2(JJ 8        LiMITED TO OPEN SOURCE INFORMATION




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Regardless of whether these attacks were acts of workplace violence, domestic violence, school-based violence, or inspired
by an ideology. similar themes were observed in the behaviors and circumstances of the perpetrators, 5 including:

    •  Most of the attackers utili zed firearm s, and half departed tire site 011 tlreir own or committed srticide.
    •  Half were motivated by a grieva11ce related to a domestic situation. workplace, or other personal issue.
    •  Two-thirds had histories of m entallrealtlr sy mptoms, including depressive, suicidal, and psyclrotic sy mptoms.
    •  Nearly aiJ had at least one significant stressor within the last five years. and over half had indications ofjinmrcial
       instability in that time frame.
     • Nearly all made tlrreate11itrg or concerning communicatio11s and more than three-quarters elicited concern from
       others prior to carrying out their attacks.

The violence described in this report is not the result of a single cause or motive. The findings emphasize, however, that we
can identify wa rning signs prior to an act of violence. While not every act of violence will be prevented, th is report
indicates that targeted violence may be pre ventable, if appropriate systems are in place to identify concerning behaviors.
gather information to assess the risk of violence, and utilize community resources to mitigate the risk.




                                                                       MIDDLETON, WI.         '(( (          ME    ROFT,

                                                                                  CHICAGO, IL - Pfl1SlllJRGH,
                                                                                                           PA •
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SAN RAFAEL.                                                                                              MASONTOWN,• ANNAPOLIS, MD

SAN BRUNO, CA   I   YOUNTVILLE. CA •                                                  CINCINNA~. OH.          PA          ,
                                                                                                                    _, VIRGINIA BEACH, VA

                                                                                  IIENTON, K'Y .          --~ ~             I
    BAKER.SFIELD, CA.                      ALBUQUERQUE. NM                                         •              • BESS    ER CITY, NC

   THOUSAND OAKS, CA
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                              ~COnSDALE,AZ
                                                 •                 •
                                                             OKLAH~ CITY, OK
                                                                                               ANTIOCH, TN


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                                                                   SANTA FE, T1(                                        j   PARKLAND, Fl




Mass Atta~ks in Public Spa~es · 2018               LIMITED TO OPEN SOURCE INFORMATION                                                      2




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                                                   THE lNCIDENTS
THE WEAPONS: Though most of the allacks were carried out using a firearm (11 = 24, 89%), three attackers used vehicles
to cause harm (II %).6 Of the 24 who used firearms, at least 10 possessed their weapon illegally at the time of the incident.
Two of those ten were minors. The remaining eight had felony convictions, were the subjects of protective orders, or had
some other factor present that would have prohibited them from purchasing or possessing a firearm based on federal or
state laws.'

THE PUBLIC SIT ES: The 27 incidents were carried out in 18 states, at 28 different sites, with most (n = 20, 70%) occurring
at places of business (see Figure 1). Those that took place in open spaces (n = 4) represented 14% and included such
locations as a public sidewalk, street, and parking lot. Three attacks (11%) were carried out at high schools. One attack
(4%) took place in a house of worship.


        Figure I .


                                      Sites of the Attacks

            Places of
            Busi ness

            Open
            S paces


            Schools


            Transportatio n
                                              3


            Houses of                                                    . 2018
            Worship                                                        2017




-
                                                                                  Places of Business Affected

                                                                        Bars I Restauran ts        Bank
                                                                        Office Buildings           Municipal Center
                                                                        Warehouses                 Yoga Studio
                                                                        Treatment Facility         Hospi tal
                                                                        Heal th Center


Mass Anacks in Public Spac~s • 2018               Ll~UTED TO   OPEN SOURCE INFORMATION                                          3




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T H E TIMING: The attacks took place in every month except                Figure2.
December and occurred on every day of the week (see Figure 2).
                                                                                            Day of the Week
Over half(n = 16. 59%) took place between the hours of7:00 a.m.
and 3:00p.m. More than half(n = 17, 63%) ofthe attacks ended                   Mon      Tues         Wed         Thurs   Fri
within 5 minutes from when the incident was initiated
(see Figure 3).
                                                                                               Sat         Sun

END OF THE ATTACKS: The most common ways the attacks
ended were either by the attacker committing suicide at the scene
(n = 7, 26%) or departing on their own (n =7, 26%). n1ree of
                                                                                      Flgure3.
those who departed the scene on their own committed suicide
soon after. Law enforcement intervention at the site brought six                               Duration of the Attacks
attacks to an end (22%). In four of these incidents, the attacker
was killed. Other attacks ended when the weapon used became
inoperable (11 =4, 15%) or due to bystander intervention
(tl = 2, 7%).




        Attacks Perpet rated By Current Employees
       On September 12, 2018, an employee shot and killed
       his ex -wife and two co-\~orkers near his workplace.
       Though divorced that April, the ex-wife had recently
       filed for additional support. The attacker fled the
       scene and later committed suicide when confronted
       by police.

       On September 19, 2018, an employee opened fire
       inside his employer's offices, injuring four before
       being fatally shot by pollee. The attacker's targets
       appeared to be random, and his motive is unknown.

       On September 20, 2018, a temporary employee
       opened fire ala distribution center, killing three
       people and injuring three others before committing
       suicide. The attacker's motive may have been related
       to a grievance with co-workers.

       On November 12, 2018, an employee shot and injured
       three individuals at a food distribution warehouse.
       After Heeing the scene, the attacker called police and
       reported that his actions were motivated by mental
       illness. He later committed suicide.




t.lass Attacks in Public Spaces - 2018           LIMITED TO OPEN SOURCE h"'FOR...'YIATION                                      4




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                                                      rr -!E .ATTACY11
GENDER AND AGE: While most of the attackers were male (n = 25, 93%), there was one female and one individual in the
process of gender reassignment. Their ages ranged from 15 to 64, and the average age was 37 (see Figure 4).

    YOUNGEST: On/a1111ary 23, 201 8, a IS-year-old sopl10more began                        Rgure4.
    shooting students rarrdomly In a common area at his lligl1 scT1ool, killirrg
    two and inj uring te11. Wlum t11e attacker ran out oflmllets, he abandoned                           Ages of the Atta ckers
    llis g11n and joined otl1cr slmfcnts w/10 l1ad /1een1J/ding. After tile studerr/s
    were moved to anoll1er room, police iderrtijied the attacker and arrested               15-24
                                                                                                                     s
    him. '111e slrtdentlwd plmmed tl1 e attack fo r about a IO'eek, o11d he did not
    target any pnrtiw lnr students, describing llis attack as "orr experiment."

    OLDES1': On Mnrc/J 71 2018, 11 64-yenr-o/d mnle wnlked irrto a local cafe
                                                                                            25-34    -      .:...-
                                                                                                           ..
                                                                                                                     s

                                                                                                                         6
                                                                                                                                     9



                                                                                            lS-44                                        . 2018
    ami asked to sec the owner, wit/1 w/10111 he lwd n disngreement IO'eeks prior.                                               8
    Whe11 the owner appeared, the attacker s/1ot /Jim severn/times witl1 a rifle,                                                         2017

    killirrg l1im. He t11en proceeded to shoot cnfe patrorrs, injuring two nnd              45-54           2
    klllirrg one. Aft er the nllacker ron out of bullets, he fled to /Ji.s rrearby /1ome                                     7
    arrd barricaded /Jimselfinside. He eveutually surreudered to police.
                                                                                              55+                    5
                                                                                                            2
S UBSTANCE USE: Nearly one quarter of the attackers (n =6, 22%) were
fo und to have a history of illicit drug use and/or substance abuse.

CRIMINAL CHARGES AND DOMESTIC VIOLENCE: Approximately
half of the attackers (11 = 13, 48%) had histories of criminal charges
beyond minor traffic violations. Those charges included both non -violent
(n: 10, 37%) and violent (11 =6, 22%) offenses.

Looking specifically at the issue of domestic violence, eight attackers (30%) were found to have had such histories, with
only some of those instances resulting in criminal charges or arrests.•

     On September I 9, 2018, a mall sl1ol and injured his wife, two bystanders, nnd 11 pollee officer in n mwriciptll building. AI
     the time of the al'lack, he wns subject to 11 protective order resulting from incidents in wlliC/1 he assnulted and tl~reatened to
     ki/1/J/s wife becnuse sire wa11ted 11 divorce. About a montlr prior to his attack, /1e was arrested after l1e lhrentened to klllllis
     wife anrl choked l1 er with a belt. A judge agreed to issue a protective order; l10wever, he denied tlu: wife's l't:quest that lu:r
     husband be ordered to relinquish Ills firearms.




Mass Attack$ in Public Spaces - 2018                 U~UTED TO OPEN SOURCE          lNFORI\tATJON                                                 5




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MENTAL HEALTH: Two-thirds of the attackers (n = 18, 67%) experienced mental health symptoms prior to their attacks.
The most common symptoms observed were related to depression and psychotic symptoms, such as paranoia,
hallucinations, or delusions. Suicidal thoughts were also observed (see Table l). Nearly half of the attackers (n = 12, 44%)
had been diagnosed with, or treated for, a mental illness prior to their attacks.

    Ou May 24, 2018, a mall ope11ed fire 011 tl1e patro11s of a restaurant, i11juri11g one adult and two clli/dre11. His motive for tl1e
    attack is not know11, but lie was demonstrating symptoms of a mental illness, including suicidal tl1ougllts and paranoid delusions
    about being taunted by demons a11d watched by a dro11e. 111 videos posted online sl1ortly before tl1e attack, tile man said tl1at
    everyone was against l1im and lie felt tortured and alone. He said, "My life is in danger...Satan is after me."



                                                                 Table l.
                                                                                                                               l
                                                                   Mental Health Symptoms                 2017        2018

                                                                                                              n           n

                                                                   Depression                                 4           10

                                                                   Psychotic Symptoms                         9           JO

                                                                            Paranoia                      6           9

                                                                            Delusions                     2           s
                                                                            Hallucinations                6           ,
                                                                   Suicidal Thoughts                          6           8




Mass Attacks in Public Spaces· 2018              LIMITED TO OPEN SOURCE lNFORr.IATION                                                  6




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                                  MOTIVES, BELIEFS. & TARGETING
MOTIVES: The violence in this study resulted from a range
of motives, with some attackers having mulliple motives. In
                                                               Tab/e2.
half of the incidents (n = 14, 52%), grievances appeared to
be the main motivating factor. In these cases, the               Components to Motive                        2017        2018
attackers were retaliating for perceived wrongs related to
                                                                Grievances                                    46%         52%
their domestic situations (n = 6, 22%), work-places
(n = 3, 11 %), or other personal issues (n = 6, 22%), for                Domestic                           1896        2296
example, losing a video game competition or having an                    Personal                           7%          2296
argument with an owner of a retail establishment                         Workplace                          2196        1196
(see Table 2).•
                                                                 Mental Health/Psychosis                      14%          19%
Beyond grievances, some motives we re related to the             Ideological                                  27%          796
attackers' mental health symptoms (n = 5, 19%), while
others were connected to ideological beliefs (n = 2, 7%).        Fame                                          4%          496
Of the two perpetrators motivated by an ideology, one was        Political                                     4%          0%
motivated by anti-abortion beliefs while the other was
                                                                 Unknown                                       14%        22%
motivated by anti-Semitic beliefs. Additionally, one
attacker appeared to have been motivated by the desire          'Percenrages exceed IOOas some attackers hod more rhon one morlve.
for fame or notoriety. For the remaining incidents (n = 6,
22%), a motive was not identifiable given information that
was publicly available.

BELIEFS: While only two of the attacks were primarily motivated by an ideology, nearly one-third of the attackers (n = 8,
30%) appeared to have subscribed to a belief system that has previously been associated with violence. Often the attackers'
beliefs were multifaceted and touched on a range of issues, including white supremacy, anti-Semitism, conspiracy
theories, sovereign citizens, animal rights, and the "incel" movement. Incels, or involuntarily celibates, are members of an
Internet-based subcultu re of heterosexual males who view themselves as undesirable to females and therefore unable to
establish romantic or sexual relationships to which they feel entitled.




Mass Attacks in Public Spaces - 2018         Lli\<UTED TO OPEN SOURCE JNFORJVIAT!ON                                                  7




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FIXATIONS: Two-fifths of the attackers (n = 11, 41 %) exhibited
a fixation, defined as an intense or obsessive preoccupation with
a person, activity, or belief to the point that it negatively
impacted aspects of their lives. The focuses of these fixations
included an ex-girlfriend, wife, or other females in the subjects'
lives; perceived injustices; delusions; sociopolitical ideologies;
and video games. The behaviors that demonstrated these
fixations included, but were not limited to, posting written
material or videos online, stalking or harassing others, and filing
lawsuits or complaints to police.

     On June 28, 2018, a man sl10t and killed five employees in a
     newspaper office. Six years prior, he had sued tlte newspaper
     and some of its employees for alleged defamation. He became
    fixated on tire case, stating in 2013 tlrat it had "become {lris]
     life." He created social media profiles to impersonate people
     involved in tire court proceedings. After tire lawsuit was
     dismissed, Ire continued to file related court dowments.

TARGETING: In 11 cases (41%), the attacker appeared to
have pre-selected targets in mind. Seven of those attacks
resulted in harm to both the targeted person and random
bystanders, and in three cases the harm was restricted to just
those specifically targeted. ln the remaining case, when the
attacker could not find his intended targets at their workplaces,
he randomly fired at other people associated with the office. In
nearly two-thirds of the attacks (n = 16, 59%) harm was directed
at persons indiscriminately.

    On October 27, 2018, a man opened fire indiscriminately
    inside a synagogue. Eleve11 people were killed and six more
    were wounded before he was shot and apprehended by police.
    11re attacker lrad previously accused a Jewish-founded
    refugee advocacy group of helping to transport refugees,
    wlrom Ire referred to as "invaders," from Central America
    into tire United States. When Ire later attacked tire
    synagogue, he reportedly targeted a specific Jewislr
    congregation in the building that /rad previously partnered
    with t/Jat refugee aid group.




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                                        _ E_J\_T_A_s_s_Es_s_M_E_N_T_C


SIGNIFICANT STRESSORS WI T HIN FIVE YEARS: Most (n =23, 85%)
                                                                    _E_N_T_E_R_ __ _



attackers had at least one significant stressor occur in their lives in the five                      LIFE STRESSORS
years preceding the auack. For three-quarters of the attackers (11: 20,
74%), the stressors they experienced occurred within one year of the attack.
Beyond the criminal charges described earlier, the slressors most often faced
by the attackers were related to:

    • Family/romantic rcltlliorrsllips, such as the death of a loved one,
       divorce, a broken engagement, or physical or emotional abuse.
    • Work or sc/10ol, such as being denied a promotion, losi ng a job, or
       being forced to withdraw from school.
     • Contact wit !I law errforccmcnttllat' did not result iu arrests or
       charges, inclutling law enforcement responding to reports of
       inappropriately touching women, domestic violence, or engaging in
       other violent acts towards others.
     • Persoual issues, such as homelessness or losing a competition.

Over half of the attackers (11 = 15, 56%) experienced stressors related to fi uaucia/ iustability in the five-year period prior to
their attacks. These financial stressors were evidenced through the inability to sustain employment, losing civil judgements
in court. filing for bankruptcy, loss of income, or having to rely on others for income.

     On Apri/3, 2018, a fema le opeuetl fire at tlte headtJtlllrters ofa video sltaring website, iujuriug three people. 71te attacker
     /tad supported ltersclffinancially miug tl1e ad reveuue generated by videos tltatshe posted to tl1e compauy's website, some of
     wltich had received lumdreds of tltousauds of views. Prior to the attack, tlu: woman had e."qJresscd her anger at lite
     company 01•er reuut poUcy clwugrs that resulted ill n loss of income. Following lite aJtack, Iter fa tlter reported that site had
     beeu nugry for weeks aud complailling tl111t the compauy /tad ruined Iter life.

THREATS AND OTHER CONCERNING COMM UNICATIONS: Nearly all of the attackers (11 = 25, 93%) engaged in prior
threatening or concerning com munications. One-third had threatened someone (n =10, 37%), including threats against
the target in six cases (22%), Most of those who made threats against the target had a direct relationship with them, as a
co-worker, domestic partner, classmat'e, member of the same treatment facili ty, or peer in a competition. Though the
presence of plior threats to the target is unusual for some forms of targeted violence (e.g., assassination), threats are often
seen in cases motivated by domestic or workplace issues, which together represent one-third of these mass attacks
(11 = 9, 33%),

All but four attackers (n = 23, 85%) made some type of communicatlon that did not constitute a direct threat, but should
have elicited concern. Some oflhese concerning com munications included expressing interest in previous attackers, racist
and misogynistic comments, referencing a desire to purchase a gun, and comments that suggest an aspiration to commit
future violence.

     On February 14, 2018, a former stud.mt opened fire at his prior ltiglt sclwo/, killing 14 stude11ts aud 3 staff, a11d wouudi11g au
     ndditionn/ 17. 11te attacker lwd n lo11g ltistory of behavioraLproblems n11d couceming Wllllntmicntions. WItile enrolled al
     the targeted ltigl1scltool, lte was known by classmates to make racist and auti.Semitic comm1mts and to speak opeuly about

Mass Att~du in PubUc Sp~cel; · 2018               LIMITED TO OPEN SOURCE INFORMATION                                                      Q




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    Iris guns. A year prior to tire attack, someone wlro knew tire attacker contacted local law
    enforcement to reportl/rattlre attacker lrad posted 011 Instagram a plroto oflrimselflrolding
    a gun a11d a statemerrt similar to, "I am goirrg to get 1/ris gun wlum I tum 18 mrd slroot rrp
                                                                                                     W11o Was Concerned
    tire sclrool." Anotlrer concemed individual notified law enforcement of tJre attacker's           Mothers & Fathers
    conceming social media posts about a mo11tlr before tire shooting.                                Romantic Partners
                                                                                                     Siblings & Children
HISTORY OF ELICITING CONCERN: Most of the attackers (n =21, 78%) in this
report exhibited behaviors that caused conce rn in others. Those who were concerned
had various degrees of association with the attackers, from those who were close to                  Friends & Neighbors
them, to strangers in the community who may have never met the attacker before.
                                                                                                        School Staff &
                                                                                                         Classmates

                           11re Behaviors that Elicited Concern
                                                                                                        Supervisors &
   • Social media posts with alarming content • Stalking and harassing behaviors                         Coworkers
   • Escalating anger or aggressive behavior         • Increased depression
   • Changes in behavior and appearance              • Increased drug use                               Mental Health
   • Expressions of suicidal ideations               • Erratic behavior                                 Professionals
   • Writing about violence or weapons               • Purchasing weapons
   • Cutting off communications                      • Threats of domestic violence                   Law Enforcement
   • Inappropriate behavior toward females           • Acting paranoid                                Judges & Attorneys
                                                                                                     Community Services


The responses from others to these behaviors varied from more passive activities like                Community Members
avoiding the attacker, to more active efforts like transporting the person for a mental               Religious Leaders
health evaluation. 1l1e ways in which people responded to their concerns included:
                                                                                                      Online Community
    • Mothers and fathers seelting therapy for the attacker, calling police, confiscating
      weapons, or searching for the person when they could not be reached.
    • Family and friends malting efforts to spend more time with the attacker.
    • Online community members calling police.
    • Fellow students telling school staff about their concerns.
    • Law enforcement gelling the attacker to undergo a mental health evaluation,
      revoking firearms licenses, or aslting family to consensually restrict access to weapons .
    • Employers firing them or calling their family members to express concern.
    • Co-workers checking on them or suggesting counseling.
    • Members of the community asking them to leave business establishments or
      treatment programs, sometimes resorting to calling law enforcement.




Mass Attacks in PubUc Spaces· 2018               LIMITED TO OPEN SOURCE INFORMATION                                        10




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For the majority of the attackers (n = 19, 70%), the concern others felt was so severe that they feared specifically for the
safety of the individual, themselves, or others. Some of those concerned for their own safety acted on that fear by filing for
divorce, ceasing communications, filing for restraining or protection orders, asking loved ones to stay \vith them out of fear,
changing their daily routines, moving. or warning their own family and friends about their concerns. In one case, a person
shared photos of the attacker so that others could remain alert and call the police if needed.

    Ott November 2, 2018, a m1111 ope11ed fire inside 11 yoga stttdio, killi11g two and inj11ri11gfive. From adolescence, otlters /tad
    expressed concems abo111 /tis behavior aro11nd women and girls. Accordi11g to police investigative records and otlter sources,
    It is cotldllclltad resulted ill tlte ma11 bei11g discharged from the Army, fired from two teaclli11g}obs, reported to law
    enforcemeut, arrested and im,estlgated by police on multiple occasions, banned from a university campus, asked to leave t1
    cltild's pari)~ tmd avoided by acqllailllances and former friettds.




Mass Attacks in Public Spaces - 20 18             LIMITED TO OPEN SOURCE INFORMATION                                                     II




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                                MASS ATTACKS IN PUBLIC SPACES
                                         20 17 & 2018
Many of the key findings in both the 20 17 and 20 18 reports reflect similarities among the incidents and the attackers. For
example, attacks occurred across the country and attackers predominantly used firearms. The majority of attackers elicited
concern in others and two-thirds had histories of mental health symptoms or treatment. A majority of the attackers had
recently experienced significant stressors, with just over half of the attackers experiencing financial instability in that
same timeframe.


                   Table3.

                     General Backgrounds                                               2017        2018
                     Gender - Male                                                     100%        93%
                     Age: Range                                                        15-66       15-64
                             Average                                                     37         37
                     Illicit drug use or substance abuse                                54%        22%
                     History ofcriminal charge(s)                                       71%        48%
                             Non-violent                                             57%         37%
                             Violent                                                 54%         22%
                     History of domestic violence                                       32%        30%
                     Overall history of violence                                        64%        44%
                      Mental health symptoms                                            64%        67%
                             Known treatment or diagnosis                            25%          44%

                     Investigative Themes                                               2017       2018
                     Beliefs                                                            25%        30%
                     Fixation                                                           39%        41%
                     Stressors                                                         100%        85%
                             Financial instability                                   57%          56%
                     Threatening or concerning communications                           86%        93%
                             History of making threats                               50%          37%
                             Threats specific to the target                          36%          22%
                             Concerning communications                               82%          85%
                     Elicited concern                                                   79%        78%
                             Concern about safety                                    46%          70%


Mass Attack~ in Public Spaces- 2018              LIMITED TO OPEN SOURCE INFORMATION                                        12




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                                            f.:ON ' DERATTONS
Like the year before, 2018 saw incidents of mass violence impact the places where we work, learn, w9rship, or otl1er·wise
conduct our daily activities. Consistent with previous research from the Secret Service, these attacks were found to be
motivated by a variety of goals. g1·ievances, and ideologies. The attackers varied widely on demographic factors, and while
there is no single profit~! that can be used to predict who will engage in targeted violence, focusing oo a rang~! of concerning
behaviors while assessing threats can help promote early intervention with fuosc rare individuals iliat pose such a risk.

     • Mental healfu and mental wellness - Mt!ntal illness, alone, is not a risk factor for violence, and most violence is
       committed by individuals who are not mentally ill. Two-thirds of the attackers in this study, however, had prevtously
       displayed symptoms indicative of mental health issues, including depression, paranoia, and delusions. Other
       attackers displayed behaviors that do not indicate the presence of a mental illness, but do show that the person was
       experiencing some sort of distress or an emotional struggle. These behaviors included displays of persistent angei, an
       inability to cope witllstressfuJ events, or increased isolation. A muJtidisciplli1ary approacll that promotes emotional
       and mental wellness is an important component of any community viole.nce prevention model. For example. a robust
       employee assistance program (EAP) can help to promote mental wellness in the workplace, whether that involves
       facilitating menta l health treatment or assisting with oilier personal problems, w,e substance abuse, financial
       struggles, or problems in a personal relationship.

     • The impor tance of reporting - Stnce three-quarters of the attackers bad concern ed the people around them, wiili
       most of them specifically eliciting concerns for safety, the public is encouraged to share concerns tlley may have
       regarding coworkers, classmates, family members, or neighbors. Such reports could be made to workplace managers,
       school administrators, or law enforcement, as appropriate, Wbile over-reporting ls not the goal. a reasonable
       awareness of the warning signs that can precede an act of violence may prompt co=unity members to shnre their
       concerns with someone who can help. Systems can be developerl to promote and facilitate such reporting, and people
       should be encouraged to tr ust their i.n stincts, especially tf tl1ey have conceins for someone's safety. For ex:ample,
       several sLates have recently developed statewide reporting infrastructmes that allow students and others to utilize a
       smartphone app to .submit anonymous tips to a call center staffed by law enforcement. 1l1is type of program can
       facilitate not only a law enforcement response to reported threats, but also a community-level response to reports of
       bullytog, suicidal ideation, self-harm, or depression.

     • "... Do Som eth ing"- Since 2010, the Department of Homeland Security has effectively promoted the ''lfYou See
       Something, Say Somcfuiug"" national campaign. originally developed by New York City's Metropolitan
       Transportation Authority, which encourages the reporting of suspicious activity.ln many of these cases from 2018,
       members of the general public successfully performed their role in the "See Something, Say Something" process, by
       reporting their concerns to someone with a ro.le fn public safety. At that point, the responsibility .1& on ilie public
       safety professionals to "Do Somefuing~ namely assessing the situation and managing as needed. By adopting n
       multidisciplinary threat assessment approach, that standardizes the process for identifying, assessing, and managing
       individuals who may pose a risk of Violence, law enforcement and others are taking steps to ensure that those
       individuals who have elicited concern do not "fall ilirough the cracks."




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    • Law enforcement partnersh ips - While law enforcement has a key role to play in th e prevention of community
      violence, intervening with individuals who may pose a risk is not the responsibility of law enforcement alone.
      Particularly in those instances where a concerning individual has not broken a law, the relationships between law
      enforcement and other community resources become paramount. Law enforcement personnel are encouraged to
      continue developing close partnerships with the mental health community, local schools and school districts, houses
      of worship, social services, and other private and public community organizations. The mission of law enforcement
      in the United States is public service oriented, and that mission will be most effectively executed through
      multidisciplinary and collaborative community efforts.

Targeted violence has a profound and devastating impact o n those directly involved and a far reaching emotional impact to
those beyond. Because these acts are usually planned over a pe riod of time, and the attackers often elicit concern from the
people around them, there exists an opportu nity to s top these incid ents befo re th ey occur. 11u·eat assessment is one of the
most effective practices for prevention. Many of the resources to s upport this process are already in place at the com munity
level, but require leadership, collaboration, and information sharing to facilitate their effectiveness at preventing violence.




                                             Tire Importance of Threat A ssessm ettt

                    "Threat assessment" refers to a proactive approach to violence prevention. It is an investigative
                    model originally developed by the U.S. Secret Service to prevent assassinations, but has since
                    been adapted to prevent all forms of targeted violence, regardless of motivation. This includes
                    K-12 school shootings and acts of workplace violence. When implemented effectively, a threat
                    assessment generally involves three key components:

                                                   lde11tijy   ~ Assess ~    Manage

                    Research indicates that the majority of perpetrators of targeted violence elicit concern in
                    others prior to the attack. We rely on those people who observe such concerns to identify the
                    individual to law enforcement or to someone else with a public safety responsibility. In
                    educational settings or workplaces, concerns may be reported to a multidisciplinary threat
                    assessment team that works in conjunction with law enforcement when needed. The
                    responsible public safety entity is then tasked to assess th e situation to determ ine how they can
                    mmwge any risk of violence posed by the individual. With a focus on early intervention, this
                    systematic approach is an important component of any safety plan. It allows communities to
                    respond appropriately to a broad range of situations, from those individuals who are
                    displaying a low-level concerning behavior to those who may pose an immediate and
                    imminent risk of violence.




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                                                                 TH'E NCIDEN S
I)    On January 23, a student fatally shot two and injured ten ai                          IS) On July 5, a gunman injured six in th~ street oear the
      n high school in Benton, KY.                                                              oceanfront in Vi rginia Beach, VA.
2)    On January 28. a gunman fatally shot four in a parking lot                            16) On August 26, a gunman fataUy shot two and injured nlne
      in Melcroft, PA.                                                                          at a video game competition in Jacksonlfille, FL.
3)    On February 14, a former student fatal ly shot 17 and injuted                         17) On September 6, a gunman fatally shot three and injured
      another 17 at a high school in Parkland, FL.                                              two at a bank in Cincinnati, OH.
4)    On February 14, a man drove a truck inlo a clinic, injuring                           18) On September 12, a gunman fata.lly shot three in front of a
      three in East Orange, NJ.                                                                 trucking company in Bakersfield, CA.
5)    On March 7, a gunman fatally shot two and injured two                                 19) On September 19, a gunman injured four at a municipal
      inside a restnurnntTn Hurtsboro, AL.                                                      center in Masontown, PA.
6)    On March 9, a gunman fatally shot three at a trl!alment                               20) On September 19, a gunman injured four in an office
      facility in Yountville, CA.                                                               building in Middleton, WI.
7)    On Apli! J, a woman shot a.nd injurl!d three at tbe                                   21) On September 20, 3 gunman fatally shot three and injured
      headquarters of a video shating website in San Bruno, CA.                                 three at a warehouse ln Abe rdeen, MP,
8)    On April22, a gunman fatally shut four and injured four                               22) On October 27,3 gunman fatally shot J lin a synagogue In
      others Tn a restaurant in Antioch, TN.                                                    Pittsburgh, PA.
9)    On May 18. a student fatally shot 10 and injured 13 at a high                         23) On November 2, a gunman fatally shot two and injured five
      school in Santa Pe, TX.                                                                   in a yoga studio in Tallahnssee, FL.
10)   On May 20, a man dmve a vehicle into a restaurant, killing                            24) On November 5, a gunman fata lly shot one and injured two
      two and injuting three in Bessemer City, NC.                                              at a drug treatment center in San Rafael, CA.
II)   On May 24, a gunman injured three in a reslnuranl in                                  25) On November 7, a gunman fatally shot 11 and inJured at
      Oklahoma City, OK.                                                                        least two at a bar in Thousand Oaks, CA.
12)   On Mny 25, a man drove a vehicle onto a sidewalk, Injuring                            26) On November l2, a gunman injured three at a food
      three in PorUanJ, OR.                                                                     distribution warehouse in Albuquerque, NM.
13)   On June I, a gun man killed two at a law firm, followed by                            27) On November 19, a gunman fataUy shOL t.hree at n hospital
      one ala psychologist's office, in Scottsdale, 'AZ.                                        in Chicago, TL,
14)   On June 28, a gunman killed five in a newsroom in
       Annapolis, MD.

      • Addotlonal threa t ~ss•s•m•ot r••ources ~nd p~bllc~!lons I rom tile N~tlonal Threat Aues.menr c:..nret arl>ovail~ble on the u..s. s..crcr SeNice web<lte,
      loMctl .n hups:/fwww.;cae~rvluo govb>rotcctloo/motl
      ' lh.,lilmtDhons of open source inforrnoloan shoulti be consltlcrcd when rc•lcwlng the Lndinl!> cr>nl•ollcd on llus rCI)(Irl. Since tnforniJlloro lor a lew of 1hc
      offenders was limited. 111s llk~l~ tll.lt J l~re~r number ti>Jn report~ here m~v 1\ave dlsolayed the behavior;, symptoms. and otller backeround elemeom
      de><:rlbed her~ .
      J The   1ncldenh induded In this report were ldentlflcd af'!d researchC!'d through opon !tourct!' reporting (e.g., media sourc~ and releaJed taw entorcement
      r&ords); therefore, tt os possible that mOt~ Incidents took place than were d•scwer•d at the time ol th~ wrillng, Though thtre i> much debate a• to what
      ~ehr•e~ J mun otr(Jd, for the purpose of this report we lnclud~d a~t> ol rntentlon.JI violence In " ''bll~ 1p•ce; (e.g.. p•rk$, com<nunlw evenu, retail
      esubllshme~t~ or semi-public places (e g., wor~places. school•, reliRiovs establishments) durlnr. wttich siRnlr;ont I'IJrm was cau1e-d 10 three or more
      p.-r\(ln\. Wi! t'xclucfett violenc.tt relilted to tthninill ACt\ fn.g.., ;c.1ng or druM activity), fallfld Anflmpt\ a~ il ma\\ iltfAck,.1nf1 !ipontanoou" violflnce.
      ' In two intldunu. tlw auack•rs harmed additional per\on; that wer" not lnclutltd in t~.l! totdlnumb"' killed ~oulinjured, bded on the criteria forth is
      repOrt. In on& t•se. the attacker kolh!d two lndwlduals at a priVate rttSideo>te following his Btt•<k In a public >pace In anoth•r tas~. the alt3tk<r h~d killed
      one P<)r~OII thC do IVpriOt to the r~•Ss .ltlaCk. Further, the tOIJI Of those horoncd Ot1ly loldutlcd llldtVIdu.li> tholl were t10r 111Nl oil a tlfiC(t l<!>ult of tho!
      MJbiecf~ :trJinM. lnlurhu 'i:ustalnaci while fiP.Ping the scene, rm e•ampiP., were not lnduded .
      ' 1l1t~ r~port w-3\ prep;u~d for .e-ducational <1nd res~arch ptJrpo;es_. lh~ background and behaviors reported hcrQI" JfC' of fhosC!. individuals who~ 1) were
      arrested lor tho att; 2) died at the ~eenv; or 3) dlod lmm<><li•tely rollowl"g the attack, Ac1lons'1ltttlbuted to lncllvfduol• who havo been arrested, Indicted,
      or charged"' those Incident> are merely all•gatlons, and all are pr...sumed innocent until proven guilty b•yond • rea; enable doubt In a court of l•w
      ' In one attac~. the attacker used a combination or a firearm and •moke/ftash·bal'g grenatJos. ln another 3tt~ck. th~ subJtct brought e•otosives to til~
      school, but the'! were tlOt used in the ~~~~c~ ~nd were determined to be lnoo~able
      ' !hough lllegdl drug u5e wlthtn the pre.ious ye~r i1 one Qflhe ditQuallfyrng factors for possessing a nr·earm under federJIIaw, it was no1 considered In this
      rNlC!W a.s inform3tlon VIas notaY'3ilable to eonfirm active Ule within one year of the incident.
      • for tile purf)(>lC or thosrep Ofl, dof1\e$!IC vlo/co(c was tlchned as p~yslcal forte or the threM olomml~ent bOdily lwrl\'1 lntlltted on a romantic pMtner,
      ll.llent/auardr>n, Of child ]or tho!. as s.lrl~nt or romantic paotn~r). tf an attack~r w~s classlfir:d <>I hav•ns a 1\lsto•vof donle>tot voolente agaonst J paratll or
      child, rhr perp(lotratnr and rhe vic rim mun h.1ve re\ided at the umP.Ioc.:uion.
      • On~ s~bjPct hlld both dnmP.>tit ""d person.11~ri~van<!'S"' pMt of hi' nmtivP for lhP 311·"~ -
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                                        DATA HIGHLIGHTS ON SCHOOL CLIMATE AND SAFETY
                                                IN OUR NATION'S PUBLIC SCHOOLS

What's the 2015-16 Civil Rights Data Collection?
The 2015-16 Civil Rights Data Collection (CRDC) isa surveyof publicschoolsand school districts in the United States. The CRDC measures
student access to courses, programs, staff, and resources that impact education equity and opportunity for students. The CRDC has long provided
critical information used by the Department of Education's Office for Civil Rightsin its enforcement and monitoring activities.
In addition, the CRDC isavaluable resource for other federal agencies, policymakers, researchers, educators, school officials, parents, students,
and other members of the public who seek data on student equity andopportunity.To further explore the CROC data through the use of data
tools, please visit the CRDC Reporting Website at ocrdata edgov.To download the CROC data, visit adc ed gov.

Who's in the 2015-16 CRDC?
Number of school districts: 17,337                                                                             WHAT'S INSIDE
Number of schools: 96,360
Total number of students: 50.6 Million
                                                                                                    Serious Offenses .......... ............. .. .................. 2
Nationwide Student                                                                                  Law Enforcement Referrals and
Demographics:                                                                                       School-Related Arrests ........................... 3
                                                                                                    Harassment or Bullying .... .......................... 5
Race/Ethnicity:1
                                                                                                    Restraint and Seclusion                   ....................... . 11
Asian s" -----
American Indian or                                                                                  School Discipline ..                 . .. ... ................. 13
Alaska Native 1%
                                                                                                    Data Highlights and CRDC Endnotes..... .. 17
Native Hawaiian                                                                                     More About the CRDC....................................... 18
or Other Pacific Islander 0.4%
                                                                                                    Data Collected for the First Time

Boys: 51% Girls: 49%                                                                                Serious Offenses............ .................................. 2
English l earners: 10%                                                                              Firearm Use......................................................... 2
Students with Disabilities: 14%                                                                     School Homicides ....................................... . 2
   • Students with disabilities served under the Individuals with Disabilities
     Education Act(IDEA): 12%
   • Students with disabilities served only under Section 504 of the
     Rehabilitation Ac~ as amended: 2%
10\mCf: U.S DfP"rt,.,. o4 £du<•l""' Olrc elot CMI tt.ghls, CMI Righi< O.t. Caloctioo. 20 1S-16.




                    U.S. Department of Education                          I Office for Civil Rights I April2018 · revised May 2019                                           1




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                                         SCHOOL CLIMATE AND SAFETYt
    School climate generally refers to interrelated aspects of the quality and character of school life.Th•s issue brief focuses on one element ol
    school climate: safety.To evaluate how safe students are at school, the CRDC collects data on serious offenses, law enforcement referrals and
    school·related arrests, harassment or bullying, restraint and seclusion, and school discipline.


                                                                   Serious Offenses
    Figure 1 shows the number of 1ncidents ol serious offenses.1 During the 2015-16 school year, nearly 1.1 million incidents of serious
    offenses were reported in public schools across the nation.1
    The categories ol (a) physical attack or light without a weapon, and (b) threats ol physical attack without a weapon, accounted lor 94 percent
    ol all reported incidents ol serious offenses. About 787,200 (75 percent) incidents ol physical attack or light without a weapon, and about
    197,900 (19 percent) incidents involving a threa t of physical attack without a weapon were repo•ted.
    School districts also reported approximately22,600 (2 percent) incidents ol robberywithout a weapon, and 11,700 (1 percent) incidents ofa
    physical attack or light with a weapon. Each of the other offenses accounted lor less than 1 percent of the total.

                                                  FIGURE 1: Number of incidents of serious offenses

                                     Type of incident                                                                    Number
                                     Physical attack or fight without a weapon                                            787,200
                                     Threats of physical attack without a weapon                                          197,900
                                     Robbery without a weapon                                                              22,600
                                      Physical attack or fight with a weapon                                               11,700
                                      lhreats of physical attack wrth a weapon                                              10.400
                                     Sexual assault (other than rape)                                                        9,300
                                      Possess•on of a firearm or explosive device                                            5,900
                                     Threats of physical attadc with a firearm or explosive device                           3,400
                                      Physical attack or hght with a firearm or explosive device                             2,800
                                      Rape or attempted rape                                                                    400
                                      Robbery IVith a weapon                                                                    620
                                      Robbe!)' 1Vith a firearmor explosive device                                               250

                                    SOURCE: US D•p•rtmenl ol Educalion, Offitelo< Covil RighiS, Oril Rights Oalil Collecll011, 2015-16



    Inaddi tion to the foregoing incidents of serious offenses, for the fi rst time, the CRDC required schools to report onschool·related shootings
    and school·related homicides. Nearly 230 schools (0.2 percent of all schools) reported at least 1 incident involving aschool·related shooting,
    and over 100 schools (0.1 percent of all schools) reported aschool·related homicide involving astudent, faculty member, or stall member.
    About 1 out of every 100,000 students was enrolled in a school that reported a school·related shootmg or school·related homicide during
    the 2015-16 school year.
    Note: The total number of school·related shootings or the total number of school~elated homrcides are not reported.The data refle<t the number ol schools that
    had at least one rncident of a school·related shooting or school· related homicide.



2                            2015-16 Civil Rights Data Collection                                I   SCHOOL CLIMATE AND SAFETY




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          Law Enforcement Referrals and School-Related Arrests
Referral to law enforcement is an actron by which a student is reported to any law enforcement agency or official, mcluding a school police
unit, lor an incident that occurs on school grounds, during school·related events, or while taking school transportation. School-related arrest
refers to an arrest of a student lor any activity conducted on school grounds, during olf·campus school activities(including while taking
school transportation), or due to a referral by any school official.• All arrests are considered referrals to law enforcement. During the 2015-16
school year, over 290,600 students were referred to law enforcement agencies or arrested.

REFERRALS TO LAW ENFORCEMENT AND
ARRESTS BY RACE AND SEX
                                                                             FIGURE 2: Percentage distribution of students referred to law
                                                                              enforcement or subjected to school-related arrests, by race
Figure 2 presents the percentage distribution of students
referred to law enforcement or subjected to school·related
arrests, by race. During the 2015-16 schoolyear, black                           100%
students represented 15 percent of the total studen t
enrollment, and 31 percent of students who were referred
to lawenforcement or arrested-a 16 percentage point                                80%
disparity. 5 During the 2013-14 school year, blackstudents                                                                                              2'4
had an 11 percentage point disparity (blackstudents were                           60%
16 percent of the student enrollment and 27 percent of
students referred to law enforcement or arrested). During
the 2015-16 school year, while students represented                                40%                                                                  1'4
49 percent of the total student enrollment, and accounted
for 36 percent of those referred to law enforcement or
arrested. During the 2013-14 school year, white students                           20'/o
were SO percent of the student enrollment and 38 percent
of students who were referred to law enforcement or
arrested.                                                                             o ~----------~~------------~5~'4~­
                                                                                                                                Re~en•h"' llootnlOI<t.....
                                                                                                                                  or khookt&Ntd anm
During the 2015-16 school year, American Indian or
Alaska Native students. Native Hawaiian or Other Pacific                             Amerian lndlin or Alisb Nll,.,.t                     Nllive Hawlrlin or
                                                                                • H1Sp.1nic 01 Lllrno ol any rl<t                        Other Pldlrc lslindtr
Islander students, and students of two or more races
                                                                                      A!Jan                                        • Willie
were referred to law enforcement or arrested at rates                                                                                    lwoor more row
approaching their overall student enrollment. Together,                         •     Blacko•AirrcanAmerltan
these students represented almost5 percent of the
                                                                  HOlE· o... ""Y 1101 odd up lo 100 ptl<onldut to roulld.ng
total student enrollment, and accounted for 8 percent of          SOURCE. U.SJ)<p.~nm..l of &luc.olm.Off•olor Ci"l~ R19h11. C.v1l Rig hiS O•.. Colltciloo. 2015- 16
students who received a referral to law enforcement or
were arrested. During the 2013-14 school year. American
Indian or Alaska Native students, Native Hawaiian or Other
Pacific Islander students, and students of two or more races had a collective enrollment of 5 percent and were 10 percent of students referred
to lawenforcement or arrested.

Latino, Asian, and white students were not referred to lawenforcement or arrested at a percentage higher than their overall student
enrollment during the 2015-16 schoolyear.6 This is consistent with the 2013-14 school year, where these students were not referred to law
enforcement or arrested at a percentage higher than their overall enrollment.

Male students were referred to law enforcement or arrested more than female students. Males represented 51 percent ol all enrolled
students, and 69 percent of those who received a referral to law enforcement or were arrested during the 2015-16 school year. Males were
51 percent of the student enrollment and 71 percent of students referred to law enforcement or arrested during the 2013-14 school year.




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                                     FIGURE 3: Percentage distribution of students referred to law
                                 enforcement or subjected to school-related arrests, by disability (IDEA}




                                                                          Enrollment                 Referrals to law enforctmtnt
                                                                                                       or !d>ool·••lattd atttsts

                                                                    •    Students with disabihties (IDEA)
                                                                    •    Students without diSibilities


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    REFERRALS TO LAW ENFORCEMENT AND ARRESTS BY DISABILITY (IDEA)
    Approximately 82,500 of the 290,600 total students referred to law enforcement or arrested were students with disabilities (IDEA).!
    Figure 3 shows the percentage distribution of students referred to law enforcement or subjected to school-related arrests, by disability
    (IDEA). Students with disabilities (IDEA) represented 12 percent of the overall student enrollment and 28 percent of students referred to
    law enforcement or arrested.




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                                                     Harassment or Bullying
Harassment or bullying is intimidation or abusive behavior toward a student from another student, school employee, or non-school
employee third party. II can take many forms, including verbal name-calling, insults, or intimidation, as well as non-verbal acts or behavior
such as graphic or written statements, or conduct that is physically threatening, harmful, or humiliating. The CRDC collects data on
allegations of harassment or bullying on the basis of sex; race, color, or national origin;• disability; sexual orientation; and religion. In
addition. the CRDC includes data on students reported as harassed or bullied and students disciplined for harassment or bullying on the
basis of m, race, and disability.


                          FIGURE 4: Percentage distribution of allegations of harassment or bullying,
                                                                                     by basis

                    60,000                  41%
                                        ....---
                    50,000



                    40,000

                                                                     23%
                    30,000                                      !
                                                                                              16%

                    20,000                                                                                         11%
                                                                                                                                  8%
                                                                                                                               ..--
                    10,000


                            0
                                             Sex                     Race                    Sexual              msability      Religion
                                                                                                                                           I
                                                                                          orientation

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Overall, approximately 135,200 individual allegations of harassment or bullying onthe basis ofsex, race, sexual orientation, disability,
or religionwere reportedduring the 2015-16 school year. Figure 4 presents the percentage distribution of allegations of harassment or
bullying, by basis. Forty-one percent of these allegations involved harassment or bullying on the basis of sex- which Includes sexual and
other sex-based harassment or bullying. Twenty-three percent of these allegations involved harassment or bullying on the basis of race;
16 percent involved allegations on the basis of sexual orientation; 11 percent involved allegations onthe basis ofdisability; and8 percent
involved allegations on the basis of religion.




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                           FIGURE 5: Percentage distribution of students reported as harassed or bullied,
                                                              by race

                            100\


                              80\


                              60\


                              40\


                              20%


                                  0
                                                Enroltmenl                     S.x                      Roce                        Dlublllly

                        Amtncan l ndi.~n 01 Al.lsb Ni!rle      Asian                            Natfve Hawanan o• Othtr Padfit lslandeo         rwo 01 more ra<.es
                   •    Hlspank or Latino of 1ny ,.,.,.      • Bfact or 1\foican American   • White


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    HARASSMENT OR BULLYINGREPORTS BY RACE
    In addition to allegations of harassment or bullying, the CRDC collects data on which students were reported as harassed or bullied. Durmg
    the 2015-16 school year, about102,300 students (approximately 0.2 percent of all enrolled students) were reported to have been harassed
    or bullied on the basis of sex, race, or disability.

    Figure 5 presents the percentage distribution of students reported as harassed or bullied, by race. Black students were 15 percent of overall
    student enrollment and 19 percent of students harassed or bullied on the basis of sex, 35 percent on the basis of race. and 17 percent on
    the basis of disability. American Indian or Alaska Native students were 1 percent of student enrollment and 2 percent of students harassed
    or bullied on each basis. Students of two or more races were 3 percent of the overall student enrollment, 5 percent of students harassed or
    bullied on the basis of sex, 6 percent on the basis of race, and 4 percent on the basis of disability.

    White students were 49 percent of the student enrollment, SO percent of students harassed or bullied on the basis of sex, 29 percent of
    students harassed or bullied on the basis of race. and 59 percent of students reported as harassed or bullied on the basis ofdisability. Asian
    students were 5 percent of the student emollment, 2 percent of students harassed or bullied on the basis of sex, 6 percent of the students
    who were reported as harassed or bullied on the basis of race, and 3 percent ofstudents ha rassed or bullied on the basis of disability.

    Native Hawaiian or Other Pacific Islander students were reported as harassed or bullied on the basis of sex, race, and disability at rates
    comparable to theirstudent enrollment rate.




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                         FIGURE 6: Percentage distribution of students reported as harassed or bullied,
                                                                        by sex


                          100%


                           80%


                           60%


                           40%


                           20%


                               0
                                         Enrollment               Sex                   Race              Disability

                                                                 •      Males      •   Females




    THE TYPE OF BULLYING OR HARASSMENT REPORTED BY MALE AND FEMALE STUDENTS DIFFERS
    CRDC data indicate differences in the most common bases for which female students and male students were reported as harassed or
    bullied. Figure 6 shows the percentage distribution of students reported as harassed or bullied, by sex. Female students (49 percent of
    total enrollment) accounted for 63 percent of students reported as harassed or bullied on the basis of sex, 38 percent of students harassed
    or bullied on the basis of race, and 34 percent of students reported as harassed or bullied on the basis of disability.

    Male students (51 percent of total enrollment) accounted for 37 percent of students reported as harassed or bullied on the basis of sex,
    62 percent of students reported as harassed or bullied on the basis of race, and 66 percent of students reported as harassed or bullied on
    the basis of disability.




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                          FIGURE 7: Percentage distribution of students reported as harassed or bullied,
                                                          by disability




                                           Enrollment                Sex                  Race                  Disability

                                           8 Students with disabilities       8 Students without disabilities




    HARASSMENT OR BULLYING REPORTS BY DISABILITY
    As used in this report, the term •students with disabilities; in regards to harassment or bullying, includes both students with disabilities
    (IDEA) and Section 504·only students.' Figure 7 illustrates the percentage distribution of students reported as harassed or bullied, by
    disability. Students with disabilities were harassed or bullied based on sex, race, and disability at rates higher than their representation in
    the total school enrollment. Students with disabilities comprised 14 percent of the total student enrollment, but were 18 percent of students
     harassed or bullied on the basis of sex, 16 percent of the students harassed or bullied on the basis of race, and 51 percent of the students
     harassed or bullied on the basis of disability.

    In comparison, students without disabilities represented 86 percent ofthe total student enrollment, but were 82 percent of students
    harassed or bullied on the basis of sex, 84 percent on the basis of race, and 49 percent of the students harassed or bullied on the basis
    of disability.10The basis of disability includes disabilities under IDEA, disabilities under section 504, perceived disabilities, and any other
    disabilities.




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                    FIGURE 8: Percentage distribution of students disciplined for harassment or bu llying,
                                                           by race




                                                                 Enrollment                                       OiS<iplined


                      American Indian or Alaska Native                Asian                                   Native Hawaiian or         Two or more races
                •     Hispamc or Latino of any race             •     Black or African American               Other Pacific Islander
                                                                                                            • White


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STUDENTS DISCIPLINED FOR HARASSMENT OR BULLYING BY RACE, SEX, AND DISABILITY
Nearly 114,600 students (approximate~ 0.2 percent of the total number of enrolled students) were disciplined lor incidents of harassment or
bullying on the basis of sex, race, or disability during the 2015-16 school year.

Figure 8 illustrates the percentage distribution ofstudents disciplined lor harassment or bullying, by race. Black students represented
15 percent of all students enrolled, and accounted for 22 percent of those disciplined for harassment or bullying; while students represented
49 percent of students enrolled and 45 percent ofthose disciplined; Latino students represented 26 percent of students enrolled and
22 percent of those disciplined; Asianstudents represented 5 percent of students enrolled and 2 percent of those disciplined; Native
Hawaiian orOther Pacific Islander students represented 0.4 percent ofstudents enrolled and 1 percent of those disciplined; and students
of twoor more races represen ted 3 percent of students enrolledand 5 percent of those disciplined.




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         FIGURE 9: Percentage distribution of students                                   FIGURE 10: Percentage distribution of students
            disciplined for harassment or bullying,                                          disciplined for harassment or bu llying,
                             by sex                                                                        by disability




                             Enrollment                  Discrphned                                          Enrollment             Dtsciplintd

                                •     Miles      •   Fem1lts                                   Studenli wrth drs~bohbes   •   Students wrthout duabrlrbts

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       Figure 9 presents the percentage distribution of students disciplined for harassment or bullying, by sex. Male students were 51 percent of
       students enrolled and 76 percent of students disciplined for harassment or bullying. Female students were 49 percent of students enrolled
       and 24 percent of students disciplined.

       Figure 10 shows the percentage distribution of students disciplined for harassment or bullying, by disability. Students with disabilities
       comprised 14 percent of student enrollment and 25 percent of the students disciplined for harassment or bullying.




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                                                       Restraint and Seclusion
The CROC collects data on the physical and mechanical restraint of students and seclusion of students. Generally, physical restraint refers
to restricting the student's abilityto freely move his or her torso, arms, legs, or head. Mechanical restraint refers to the use of any device or
equipment to restrict a student's freedom of movement. Seclusion refers to involuntarily confining a student alone in a room or area from
which he or she cannot physically leave.

During the 2015-16 school year, 124,500 students(approximately 0.2 percent of all students enrolled) across the nation were physically
restrained, mechanically restrained, or secluded. Nearly 87,000 of those students were subjected to physical or mechanical restraint, and
over 37,500 were subjected to seclusion.


                    FIGURE 11: Percentage distribution of students subjected to restraint or seclusion,
                                                         by race




                             Amenc.~n Indian or Alaska Nat~                 As~an                             •  Native Haovaiian CH     Tl¥o or more rac:es
                        •    Hispanoc or Latino of any race            •    Btad or African Americ.~n            Other Pacific blander
                                                                                                               • Whole

                 NOll· ~·• ""Y noc odd up 10 100 pe~ceno duo"' rounding.
                 SOURCE: U.S. O.poOnoenl of Educolion, OHico foo CMI Right!, Civil Rights Oat• CoCie<11on, 201 >-16.




Figure 11 displays the percentage distribution of students subjected to restraint orseclusion, by race. Black students were 15 percent of all
students enrolled, 27 percent ofstudents restrained, and 23 percent of students secluded. White students were 49 percent of all students
enrolled, 48 percent ofstudents restrained, and 55 percent of students secluded. American Indian or Alaska Native students were 1 percent
of students enrolled, 1 percent of students restrained, and 3 percent ofstudents secluded.

Asian students (5 percent of enrolled students) comprised 1 percent of students restrained and secluded. Latino students (26 percent of
enrolled students) comprised 17 percent of students restrained and 11percent of students secluded. Native Hawaiian or Other Pacific
Islander students (0.4 percent of enrolled students) comprised 0.1 percent of students restrained and 0.2 percent of students secluded.




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                                      FIGURE 12: Percentage distribution of students subjected
                                            to restraint or seclusion, by disability (IDEA)




                                                  Enrollment                       Restraint               Seclusion


                                              •   Studentswilhdosabililles(IOEA)   •   AJiolheostudents




     Most students restrained and secluded were students with disabilities (IDEA), who comprised 12 percent of all students enrolled.
     Figure 12 illustrates the percentage distribution of students subjected to restraint or seclusion, by disability (IDEA). Students with
     dtsabihties (IDEA) represented 71 percent of all students restrained and 66 percent of all students secluded.




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                                                              School Discipline
The CROC collects mformation about exclusionary discipline practices including out-of-school suspensions and expulsions. Out-of-school
suspension is an instance in which a child is temporarily removed lrom his or her regular school for at least hall aschool day for disciplinary
purposes. Expulsion refers to removing a child from his or her regular school for disciplinary purposes. An expulsion can occur with or
without educational services provided to the student.

                                            FIGURE 13: Percentage distribution of students receiving
                                             one or more out-of-school suspensions, by race and sex

                 80%




                 60%




                 40%

                                                                                                                                                 1%
                                                                                                                                                 O.llr.


                                                                                                                                                 0.1lr.

                     OL---======~~------~----~~~========~~--========~1~%~
                                    loUie                            Milt                            fttNit                        fttNie
                                 Enrollmtnl                Ouo-okdlool suspemrons                   Enrolmonl             0..1-ol«hooh<Kpt<>Siofts

              Amencan Indian or Alaska NatM              Asian                           •   Halive Hawaioan or Orheo PaniK lslandeo       lwo or more racts
          •   Hospank or Latino ol any race          •   Black or Alrocan American       •   While

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SUSPENSIONS BY RACE AND SEX
About2.7 million (between 5and 6 percent) of all K-12 students received one or more out-of-school suspensions during the 2015-16 school
year. Figure 13 shows the percentage distribution of students receiving one or more out-of-schoolsuspensions, by race and sex.
Blackmale students represented 8 percent of enrolled students and accounted for 25 percent of students who received an out-of-school
suspension. Black female students represented 8 percent of the student enrollment and accounted for 14 percentofstudents who received
an out-of-school suspension. Latino male students represented 13 percent of student enrollment and 15 percent of students who received an
out-of-school suspension. latina female students represented 13 percent of student enrollment and 6 percent of students who received an
out-of-school suspension.
American Indian or Alaska Native, Native Hawaiian or Other Pacific Islander, and male students of two or more races collectively represented
3 percent of students enrolled, and 4 percent of students who received an out-of-school suspension. In comparison, American Indian or
Alaska Native, Native Hawaiian or Other Pacific Islander, and female students of two or more races accounted for 3 percent of students
enrolled and 2 percent of students who received an out-of-school suspension.



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     Asian male students accounted for 3 percent of students enrolled and 1 percent of students who received an out-of-school suspension. Asian
     female students constituted 2 percent of student enrollment and less than 1 percent of students who received an out-of-school suspension.
     White male students represented 25 percent of students enrolled and 24 percent of students who received an out-of-school suspension.
     White female students represented 24 percent of students enrolled and 8 percent of students who received an out-of-school suspension.


                               FIGURE 14: Percentage distribution of students receiving one or more
                                          out-of-school suspensions, by disability (IDEA)




                                                                    Enrollment                   Out-ol-smool wsptnSI<lns


                                                              •    Sludents with disabilhiO\(IOEA)
                                                              •    Students Mlhout disabirtiO\


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     Figure 14 illustrates the percentage distribution of students receiving one or more out-of-school suspensions, by disability(IDEA). Students
     withdisabilities (IDEA) represented 12 percent of students enrolled and 26 percent ofstudents who received an out-of-school suspension.




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                                      FIGURE 15: Percentage distribution of students receiving expulsions,
                                                                by race and sex

                    80%




                    60%




                    40%




                    20%




                        OL-----------~----~~--~~------------~----~~~~~--
                                                                Femate
                                         Male                                                                       Female
                                       Enrollment                            Expulsions                            Enrollment                  Expulsions

                 American Indian or Alaska Native                  Asian                               • Native Hawaiian or Other Pacific Islander          Two or more races
            •    Hispanic or Latino of any race               •    Black or African American           • White

             NOTE: Oata may not add up to100 percent dueto rounding.
             SOURCE: U.S. Depanment of Education, Oftice lor Civil Right~ trvrl Righb Data Colle<tion, 201 S-16.




EXPULSIONS BY RACE AND SEX
During the 2015-16 school year, approximately120,800 students (about 0.2 percent of the total number of students enrolled) received
an expulsion with or without educational service's. Figure 15 shows the percentage distribution of students receiving expulsions, by race
and sex.

White male students represented 25 percent of students enrolled and 27 percent ol students who were expelled. White female students
represented 24 percent of students enrolled and 10 percent of students who were expelled. Asian male students accounted for 3 percent of
students enrolled and 1 percent of the students who were expelled. Asian female students constituted 2 percent of the student enrollment
and less than 1 percent of the students who were expelled.

Slack male students represented 8 percent of enrolled students and accounted for 23 percent of students expelled. Black female students
represented 8 percent of the student enrollment and accounted for 10 percent of students who were expelled. Latino male students
accounted for 13 percent of students enrolled and 16 percent of students who were expelled. Latina female students accounted for
13 percent of student enrollment and 6 percent of students who were expelled.

American Indian or Alaska Native, Native Hawaiian or Other Pacific Islander, and male students of two or more races collectively represented
3 percent of students enrolled, and 4 percent of students who were expelled.lncomparison, American Indian or Alaska Native, Native
Hawaiian or Other Pacific Islander, and female students of two or more races accounted for 3 percent of students enrolled and 2 percent of
students who were expelled.




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                              FIGURE 16: Percentage distribution of students receiving an expulsion,
                                                       by disability (IDEA)




                                                              Enrollment                        Expukiont


                                                         •   Students with disabilitiet{IDEA)
                                                         •   Students without disab~ities




     Figure 16 displays the percentage distribution of students receiving expulsions, by disability (IDEA). Students with disabilities (IDEA)
     represented 12 percent of the total students enrolled, and 24 percent of those students who were expelled.




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        Data Highlights
        t Note. Except where the percentage is below 1 percent, the percentages listed in these data hrghlights are rounded to the nearest whole
            number. Counts of 1,000,000 or greater are rounded to the nearest hundred thousand. Counts of 1,000 or greater are rounded to the
            nearest hundred. Counts of less than 1,000 are rounded to the nearest ten. For the survey form and lull definitions of all terms mentioned
            mthe report, visit o«dl(a ed gov!SwveyDowments

        CRDC Endnotes
        1   CRDC data report students usmg the seven racial/ethnic c.ategories found in the U.S. Department of Education's Fmal Guidance
            on Collecting, Mamtaining and Repelling Data on Race and Ethnicity. The Final Guidance can be found at
            l!t(p lfnces ed gov{pub>ZOOBiredtgwdelpdflaapendiyA pdf. For brevity in this report, the racial/ethnic categories are referred to as 'race."
            Furthermore, lor brevity rn this report, race, color, or national origin- as referenced inTitle VIof the Crvil Rights Act of 1964 - is referred to
            as 'race.•
        2   Data onoffenses repor ted by the National Center for Educational Statistics(NCES) maydiller from the data on offenses reported by the
            CRDCdue to differences in the populations or samples used in the two different data collections.
        3   For consistencywith how questions were asked of school districts completing the survey, "offenses• are referred to as Incidents and
            ' harassment or bullyi ng• are referred to as allegations.
        4   For brevity In this report, school·related arrests are referred to as arrests.
        1   fhe term 'black' refers to persons who are black or African American.
        • The terms 'latrnota• refer to persons who are Hispanrc or Latino/a of any race.
        1   As used in this report, the term 'students with disabilities (IDEA)' is used to refer to students who recerve speer aIeducahon and related
            servKes under the Individuals with Drsabilities EduUJtion Act according to an lndivrdualfzed Education Program,lndrvidualized Family
            Service Plan, or servrce plan These students may or may not receive related aids and services under Sechon 504 of the Rehabilitatron Act
            of 1973, amended 20 U.S.C §§ 1400·1419; 34 C.F.R. pt. 300. Part Boft he IDEA addresses the obligatrons of States and school distncts to
            provide special education and related services to eligible children with disabilities. The Office of Specral Education Programs (OSEP) rn the
            Department's Office of Special Education and Rehabilitative Services (OSERS) administers the IDEA. The natrona! percentages reported by
            OSEP may differ from those reported by OCR due to differences in the population of students rncluded in the collection For lnformatron
            about the IDEA, please see osep ~cddsJOO arg and www edgovlosecs/oseormdex html.
        1   See note 1 above.
        • The term 'Section 504·only' refers to a student who receives related aids and services under Section 504 of the Rehabtlitallon Act of 1973,
          as amended, and does not receive special education and related services under IDEA according to an Individualized Education Program,
          Individualized FamilyService Plan, or service plan.
        1o Harassment or bullying on the basrs of disability includes perceived disability. Astudent mayhave a disability and not receive services
            under IDEAor Section 504. Furthermore, a student may have a disability and not be counted under "students withdisabilities' for CRDC
            purposes.




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     What is the purpose of the CRDC?
                                                                               For further general mformation about the CRDC, visit the CBIKJAa
     Since 1968,the U.S. Department of Education (ED) Office for Civil         page.
     Rights (OCR), or its predecessor agency. has conducted the Civil
     Rights Data Collection (CRDC) to collect data on key education and        Availability of Alternate Format
     civil rights issues in our nation's public schools.                       Requests for documents in alternate formats such as Braille or
                                                                               large print should be submitted to the Alternate Formal Center by
     The CRDC collects a variety of inlormatron, including student
                                                                               calling 202.260.0852 or emailing the Section 508 Coordinator at
     enrollment and educational programs and services, most of which is        om eeos@edgov
     disaggregated by race, sex, English learners, and disability.
                                                                               Notice to Persons with Limited English Proficiency
     The CRDC is a longstanding and critical aspect of the overall
     enforcement and monitoring strategy used by OCR to ensure that            If you have diffrcuhy understanding English, you can request free
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     disability.                                                               please caii1·800·USA·LEARN (1 .800.872.5327)
                                                                               (TIY: 1.800.877.8339) or email us at
     OCR relies onCRDC data from public school districts as it investigates    ED Language llsmtcwce@ed gov.
     complaints alleging discrimination, initiates proactive compliance
     reviews to focus on particularly acute or nationwide civil rights         You also can write to U.S. Department of Education, Information
     compliance problems. and provides policy guidance and technical           Resource Center, LBJ Education Building, 400 MarylandAvenueSW,
     assistance to educational Institutions, parents, students, and others.    Washington, DC, 20202.

     In addition, the CRDC is a valuable resource for other Department         Document History
     offices and federal agencies, policymakers and researchers, educators     This document was originally Issued in April2018. In April2019,
     and school officials, parents and students, and other members of the      the document was updated to incorporate data corrections submitted
     public who seek data on student equity and opportunity.                   by districts. The corrected data resulted mchanges to some of
                                                                               the national totals reported for offenses (page 2), referrals to law
     Under what authority does OCR conduct                                     enforcement and school·related arrests (pages 3 · 4), allegations of
     the CRDC?                                                                 harassment or bullying (page 5), students disciplined for harassment
                                                                               or bullying (page 9), restraint and seclusion (page 11) and expulsion
     Sectron 203(cX1) of the 1979 Depanment of Education Organrzatron          (page 15). To learn more about the data corrections, please see the
     Act conveys to the Assrstant Secretary for Civil Rights the authority     2015-16 Data Notes
     to •collect or coordinate the collection of data necessary to ensure      hUps'/loC!dald ed goy!Dowo!oJds/OaraNotes·ZOI5·16CROC odl
     compliance with civil rights laws wrthin the JUrisdiction of the Office
     for Crvil Rights.· The civil rights laws enforced by OCR rnclude:
                                                                               How to Contact the Department of Education and Office for
     • Tille VI of the Civil R1ghtsAct of 1964, which prohibits                Civil Rights
       discrimination based on race, color, and natrona! origin;               United States Department of Education
     • Tille IXof the Education Amendments of 1972. which prohibits            Betsy DeVos, Secretary
       discriminallon based on sex; and                                        Kenneth Marcus, Assistant Secretary for Civil Rights
     • Section 504 of the Rehabilitation Act of 1973, which prohibits          Lyndon Baines Johnson Building
       discrimination on the basis of disability.                              Department of Education
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     recipients of the Department's federal financial assistance to submit     Washington, DC 20202·1 100
     to OCR "complete and accurate compliance reports at such times,           Telephone: 800-421·3481
     and in such formand containing such information' as OCR 'may              FAX: 202·453·6012
     determine to be necessary to enable [OCR) to ascertain whether            TOO: 877-521-2172
     the recipient has complied or is complying• with these laws and           Email: OC/Il1Pedgov J wwwedgor/ocr
     implementing regulations (34 CFR § 100.6(b), 34 CFR § 106.71,
     and 34 CFR § 104.61).Any data collection that OCR determines
     is necessary to ascertain or ensure compliance wrth these laws is                                                           US. Department of Education
     mandatory.                                                                                                                     Office lo1 Civil Rights



18                          2015-16 Civil Rights Data Collection               I SCHOOt CLIMATE AND SAFETY




                                                                                        EXHIBIT 3
                                                                                          070
Case 3:19-cv-01226-L-AHG Document 21-21 Filed 11/12/19 PageID.4618 Page 76 of 109




             EXHIBIT "4"




                                   EXHIBIT 4
                                     0071
10/4/2019                 Database: How many children have experienced school shootings In America? - Washington Post
       Case 3:19-cv-01226-L-AHG      Document 21-21 Filed 11/12/19 PageID.4619 Page 77 of 109




                                                             More than

                                              228,000
                              students have experienced gun
                            violence at school since Columbine
                                            One dot • represents 10 children exposed to gun violence




                                                                  EXHIBIT 4
                                                                    0072
https://www.washlngtonpost.com/graphics/2018/local!school-shootings-database/                                           1/7
       Case
10/4/2019      3:19-cv-01226-L-AHG       Document
                             Database: How many children21-21    Filed school
                                                        have experienced 11/12/19
                                                                              shootings PageID.4620          Page
                                                                                        in America? - Washington Post 78 of 109




                                                                                           Columbine High
                                                                                           School
                                                                                           APRI L 20, 1999-1,820
                                                                                           CHILDREN IN SCHOOL




                                                                                         Marjory Stoneman
                                                                                         Douglas High School
                                                                                         FEB. 14, 2018- 2,930
                                                                                         CHILDREN IN SCHOOL




                                                                                         Sandy Hook
                                                                                         Elementary School
                                                                                         DEC. 14, 2012 - 420
                                                                                         CHILDREN IN SCHOOL




                                      Explore The Washington Post's database of school shootings

                                             By John Woodrow Cox, Steven Rich, Allyson Chiu,
                                                     John Muyskens and Monica Ulmanu

                                                           Updated May 8 at 10:02 a.m.




                                                                  EXHIBIT 4
                                                                    0073
https:llwww.washingtonpost.com/graphics/2018/local/school-shootings-database/                                                     2/7
10/4/2019                 Database: How many children have experienced school shootings in America? - Washinglol\ Post
       Case 3:19-cv-01226-L-AHG       Document 21-21 Filed 11/12/19 PageID.4621 Page 79 of 109
                          The Washington Post has spent the past year determining how many
                          children have been exposed to gun violence during school hours since the
                          Columbine High massacre in 1999.

                          Beyond tl1e dead and wounded, children who witness the violence or cower
                          behind locked doors to hide from it can be profoundly traumatized.


                          The federal government does not track school shootings, so The Post pieced
                          together its numbers from news articles, open-source databases, law
                          enforcement reports and calls to schools and police departments.


                          The children impacted grew with each round of reporting: from 135,000
                          students in at least 164 primary and secondary schools to more than
                           187,000    on 193 campuses.


                          Since March, The Post has tal<en a closer look at states with fewer local
                          news somces and searched more deeply for less visible public suicides and
                          accidents that led to injury.


                          The count now stands at more than 228,000 children at 234 schools.


                          The Post has found that at least 144 children1 educators and other people
                          have been killed in assaults, and another 302 have been injured.


                          In 2018 alone, there have already been 25 shootings -the highest number
                           during any year since at least 1999. Still, school shootings remain rare, and
                           only a tiny percentage of the tens of millions of students in America ever
                           experience them.



                              Tl1e most         ~cent sci      bol shooting was ;1.50 days ag



                           Show shootings in all schools                         .. from all years

                          in the U.S.


                           1 of 239




                                May7,   2019
                                                                  EXHIBIT 4
                                                                    0074
https://www.washingtonpost.com/graphlcs/20 18/(ocal/schOol-shootings-database/                                           3/7
10/4/2019                 Database: How many children have experienced school shootings in America? -Washington Post
       Case 3:19-cv-01226-L-AHG       Document 21-21 Filed 11/12/19 PageID.4622 Page 80 of 109
                                STEM School Highlands Ranch in Highlands Ranch, Colorado
                                1 dead •    s injured • 1,720 children present in school
                          <     Two armed students killed one person and wounded at least eight other peL,
                                will be updated.}
                                Source: The Washington Post




                           Injuries and death tolls do nol lnctucle the s11ooters


                           Down load the data 8"           Read the m ethodology ~   Send   informa tion ~



                          The Post's search for more shootings will continue, and it's possible
                           reporters will locate additional incidents from previous years.

                           Hundreds of outlets cover the deadliest attacks, such as the Feb. 14
                           rampage at Marjory Stoneman Douglas High in Parkland, Fla., where a 19-
                          year-old man with an AR-15 rifle killed 17 people.

                           Others are covered by a single newspaper, such as a 2001 shooting at Pearl
                           C. Anderson Middle School in Dallas, where a 14-year-old boy held a
                           revolver to a girl's chest and asked her whether she was ''ready to die"
                          before a bullet fired, grazing her hand.

                           Even as the list of incidents has e.xpanded, however, the trend lines have
                           remained consistent.

                          Among The Post's most important findings: the disproportionate impact of
                           school shootings on children of color.

                           Black students make up                                        ...but they experience
                           16.6% of the school                                        school shootings at twice
                           population ...                                                              that rate.




                                                                       EXHIBIT 4
                                                                         0075
https:/lwww. washingtonpostcom/g raphics/20 18/local/school-shootings-database/                                        4/7
10/4/2019
       Case                  Database: How
               3:19-cv-01226-L-AHG         many children21-21
                                         Document       have experienced
                                                                 Filed school shootingsPageID.4623
                                                                         11/12/19      in America? - Washington
                                                                                                           Page Post81 of 109




                                                                                        White 38.1%

                                                                    Wh ite56.7%




                                                                                        Black 33%

                                                                    Black 16.6%



                                                                Hispanic 19.5%          Hispanic 22.9%


                                                                      Other 7.2%        Other6.0%



                          In cases where the source of the gun could be determined, more than 85
                          percent of shooters brought them from their own homes or obtained them
                          fi·om friends or relatives, according to The Post's analysis.

                          The ranks of school shooters incJude a 6-year-old boy, who killed a
                          classmate after saying he didn't like her, and a 15-year-old girl, who did the
                          same to a friend for rejecting her romantic overtures.

                          Seven in 10 of them, however, were under the age of 18, which means that
                          -often because of an adu1t's negligence - dozens of children had access to
                          deadly weapons.

                          The median age of school shooters is 16.



                          30




                          20




                          LO




                               6     10     15       20 years old      30          40            50                    72

                          45 shooters with unlmown age not included


                          Read our stories about children and gun violence

                                                                    EXHIBIT 4
                                                                      0076
https://www.washingtonpost.com/graphics/2018/localfschool-shootings-database/                                                   5/7
10/4/2019                 Database: How many children have experienced school shootings in America? -Washing ton Post
       Case 3:19-cv-01226-L-AHG       Document 21-21 Filed 11/12/19 PageID.4624 Page 82 of 109
                          Scarred by school s hootings

                          How Parkland student journalists covered the shooting they survived and friends
                          they lost

                          Twelve seconds of gunfire: First-graders are haunted by what they survived -and
                          lost - oo <1 school playground

                          '111c wounds Lhey carry: For s ix teens at a Las Vegas h igh school. homecoming , ..;eek
                          statt ed with a country music concert

                          'Did yom· father die?' A second-grader grows up surrounded by gu nfire


                          A lex Horton contributed to this report.



                             About the methodology

                             The Washington Post spent a year determining how many children have been
                             affected by school shootings, beyond just those killed or injured. To do that,
                             reporters attempted to identify every act of gunfire at a primary or secondary school
                             during school hours s ince the Columbine High massacre on April 20, 1999. Using
                             Nexis, news articles, open-source databases, law enforcement reports, information
                             from school websites and calls to schools and pollee departments, The Post
                             reviewed more than 1,000 alleged incidents but counted only those that happened
                             on campuses immediately before, during or just after classes.

                             Shootings at after-hours events, accidental discharges that caused no injuries to
                             anyone other than the person handling the gun, and suicides that occurred
                             privately or posed no threat to other children were excluded. Gunfire at colleges
                             and universities, which affects young adults rather than kids, also was not counted.

                             After finding more than 200 Incidents of gun violence that met The Post's criteria,
                              reporters organized them in a database for analysis. Because the federal
                             government does not track school shootings, it 's possible that the database does
                              not contain every incident that would qualify.

                             To calculate how many children were exposed to gunfire In each school shooting,
                             The Post relied on enrollment figures and demographic information from the U.S.
                              Education Department, including the Common Core of Data and the Private School
                              Universe Survey. The analysis used attendance figures from the year of the
                             shooting for the vast majority of the schools. Then The Post deducted 7 percent
                              from the enrollment total because that is, on average, how many students miss
                             school each day, according to the National Center for Education Statistics.
                              Reporters subtracted 50 percent from a school's enrollment if the act of gun
                             violence occurred just before or after the school day. To provide information about
                              school shootings since Columbine that fit The Post's definition, send us an email at
                              schoolshootings@washpost.com.

                              Originally published April 20, 2018.



                                                                           in                ~Comments




                                                                  EXHIBIT 4
                                                                    0077
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'10/4/2019                Database: How many children have experienced school shootings in America? - Washington Post
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        Fatal Force: 2018 police shootings database
        The Washington Post database contains records of every fatal shooting in the
        United States by a police officer in the line of duty since Jan.1, 2015.




        Mass s hootings: How U.S. gun culture compares
        with the rest of the world
        After mass shootings, much debate centers on Americans' relatively easy access to
        guns. As of 2015, there are more guns tf1an people in the United States, a rate
        that's far higher than in other developed nations.




        The terrible numbers that grow with each mass
        shooting
        The death tolls change, the places change. But the weapons are the common
        denominator.




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                                                                     0078
https://www.washingtonpost.com/graphics/20 18/locaf/school-shootings-database/                                                 7/7
Case 3:19-cv-01226-L-AHG Document 21-21 Filed 11/12/19 PageID.4626 Page 84 of 109




             EXHIBIT "5"




                                   EXHIBIT 5
                                     0079
10/4/2019                            Three Decades of School Shootings: an Analysis
       Case 3:19-cv-01226-L-AHG Document  21-21 Filed 11/12/19 PageID.4627 Page 85 of 109




        Three Decades of School Shootings:
                   an Analysis
                         A comprehensive review of nearly three dozen mass shootings, including
                                              Columbine, reveals some notable similarities

                                                                   By Tawnell D. Hobbs
                                                             Published April19, 2019, at 10:30 a.m. ET




                            School shooters typically plan their attacks weeks or months in advance, usually
                            telling someone or hinting at coming violence. Most feel bullied or left out and
                            are seeking revenge. Many have easy access to guns and are fascinated by mass
                            shooters. Many are suicidal or ready to die during their attacks.

                            Those are the findings of a Wall Street Journal analysis of information about
                            nearly three dozen mass shootings that have taken place at schools since 1990.
                            The deadly shooting at Columbine High School in Colorado, which occurred 20
                            years ago Saturday, was one of them.

                                       School Shooters Exhibit Similar
                                       Behavior
                                           Displayed trait
                                       0   Did not display trait


                                       SHARED 5 TRAITS

                                        Eric Harris
                                        Dylan Klebold
                                       Caleb Sharpe
                                       James Rouse
                                       Jesse Osborne
                                       Thomas Solomon Jr.
                                        Eric Houston
                                       Evan Ramsey
                                       Charles Williams
                                       Jaylen Fryberg

                                       SHARED 4 TRAITS

                                       Mitchell Johnson                                                  0
                                       Andrew Golden                                                     0
                                                                       EXHIBIT 5
https://www.wsj.com/graphics/school-shooters-slmilarities/
                                                                         0080
                                                                                                               1/10
10/4/2019
       Case                              Three21-21
                3:19-cv-01226-L-AHG Document   Decades ofFiled
                                                          School11/12/19
                                                                Shootings: an Analysis
                                                                               PageID.4628 Page 86 of 109
                                       Barry Loukaitis                                                                                                                                u
                                       Luke Woodham                                                                                                                                   0
                                       Jose Reyes
                                       Asa Coon
                                       Charles Roberts
                                       Kipland Kinkel                                                                                                       0
                                       Jeffrey Weise

                                       SHARED 3 TRAITS

                                       Gabriel Parker                                                                                                                                 0
                                       Jason Hoffman
                                       Adam Lanza
                                       Nikolas Cruz
                                       Dimitrios Pagourtzis
                                       Kenneth Bartley Jr.
                                                                                                         -·- ·-   ··--------    ·--   -~·-·--   ..   ----                   0
                                       Kevin Janson Neal
                                       Keith A. Ledeger

                                       SHARED 2 TRAITS


                                       Thomas Lane Ill
                                             ---- -------· ···-----------------   -----· ····-   ~------~~--   ---- ----------------------------- ------
                                                                                                                                                            0 0
                                                                                                                                                            ------------~-----   --
                                       Michael Carneal                                                                                                        0
                                       Steven Williams
                                           ---   ----------~-------   -----------------------------------------------                   --   ----------------- -----···-
                                                                                                                                                                                      0
                                       JamesTate                                                                                                                                      0
                                       Cedric Anderson
                                       Kevin Newman

                                       SHARED 1 TRAIT

                                       Kenneth Wolford
                                       unnamed 15-year-old
                                       unnamed 16-year-old

                                       NO DATA AVAILABLE


                                       unnamed 12-year-old
                                       Dedrick Dashaun Nelson
                                       Rakish Jenkins

                                       Note: Empty cells are left blank because of lack of data.


                            The Journal reviewed information made public by courts or law-enforcement
                            agencies about school shootings that left three or more victims killed or injured.
                            The material included 22 hours of video, 108 minutes of audio and about 10,000
                            pages of documents-text messages, journals, court records and transcripts of
                            police interviews.

                            The shooters, 39 in all, left 116 dead and 229 injured. Last year, 77 people in the
                            U.S. died or were injured in mass school shootings that left three or more
                            victims, more than in any other year in the Center for Homeland Defense and
                            Security's statistics, which go back to 1970.

                                                                                                   EXHIBIT 5
https://www.wsj.com/graphics/school-shooters-similarities/
                                                                                                     0081                                                                                 2/10
10/4/2019
       Case                              Three21-21
                3:19-cv-01226-L-AHG Document  Decades ofFiled
                                                         School 11/12/19
                                                                Shootings: an Analysis
                                                                               PageID.4629 Page 87 of 109
                           The Journal's analysis of information about the 39 shooters revealed many
                           common elements.


                           At least 34 of 39
                           planned the attack in advance
                          0000000000000
                          0000000000000
                          0000000000000
                           In the days before 15-year-old J aylen Fryberg killed four students at Marysville
                           Pilchuck High School in Marysville, Wash., on Oct. 24, 2014, he engaged in
                           ominous text-message exchanges with an ex-girlfriend.


                                      Text messages between Jaylen Fryberg and his ex-girlfriend




                                                     Just please talk rne out of
                                                     this ...



                                                     The guns in my hand ..



                                                     Please....


                                                    Jaylen

                                                                                                      Jay


                                                                                     Jaylen's ex-girlfriend

                                                     What.


                                                    Jaylen




                            Source: Snohomish County Multiple Agency Response Team



                            Two days before the rampage, he texted her: "I set the date."

                            Moments before the first shot, he sent a m~ssage to members of his family with
                            details for his funeral and an apology to some parents of students he planned to
                            kill. "I want to be fully dressed in Camo in my casket," it said in part.

                            Within two minutes, the first 911 calls come from the school. Fryberg had invited
                            three friends and two of his cousins to sit with him at a table in the lunchroom.
                            He shot each of them in the head. Four of them died. Then he killed himself.


                                                                     EXHIBIT 5
                                                                       0082
https://www.wsj.com/graphics/school-shooters-similarities/                                                      3/10
10/4/2019
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                3:19-cv-01226-L-AHG Document   Decades ofFiled
                                                          School 11/12/19
                                                                 Shootings: an Analysis
                                                                                PageID.4630 Page 88 of 109
                             There is considerable evidence that Nikolas Cruz, too, did a lot of planning before
                             the school shooting on Feb.14, 2018, that left 17 dead in Parkland, Fla.

                             "Hello. My name is Nick and I'm gonna be the next school shooter of 2018," he
                             said in a cell phone video three days before the attack. "My goal is at least 20
                             people with an AR-15 and a couple tracer rounds."



               "It's gonna be a big event. You're all going to die."
               -Nikolas Cruz
               Source: 17th Judicial Circuit Court, Broward County, Fla.



                             Cruz's cellphone content and search history indicate he researched shooting
                             people months before the attack at Marjory Stoneman Douglas High. The month
                             before the shooting, he made a cell phone note to himself about a "basketball
                             court full of targets." One day later, he said in another note, "Everything and
                             everyone is happy except for me I want to kill people but I don't know how I can
                             do it." The day of the shooting, his internet activity included a search on "school
                             shooter."

                             More than a month before the shooting, an unidentified woman had called an FBI
                             tip line to warn about Cruz's professed desire to kill people and his disturbing
                             social-media posts, saying she worried he would shoot up a school. The FBI
                             didn't follow up on the tip.



               "I just want to, you know, get it off my chest in case
               something does happen and I do believe something's
               going to happen, but ...
               -unidentified woman tipping off the FBI about Nikolas Cruz
               Source: Federal Bureau of Investigation



                             A state safety commission later found that at least 30 people knew of Cruz's
                             troubling behavior before the shooting, and they either didn't report it or their
                             reports weren't acted upon.




Writings by school shooters recovered by law-enforcement officials.
Source: Courts, law enforcement agencies




                             At least 21 of 39
                                                                           EXHIBIT 5
                                                                             0083
https://www.wsj.com/graphics/school-shooters-similarities/                                                         4/10
10/4/2019                                Three Decades of School Shootings: an Analysis
       Case     3:19-cv-01226-L-AHG Document  21-21 Filed 11/12/19 PageID.4631 Page 89 of 109
                           felt bullied, sought revenge
                          00000000C)0000
                          0000000000000
                          OOOOOOOOOCJOOO
                           Twelve-year-old Jose Reyes left behind two letters in his backpack after a 2013
                           attack at Sparks Middle School in Sparks, Nev., that left two students injured and
                           a teacher dead. He also killed himself.

                           In a letter to teachers and students, he said he was seeking revenge for the mean
                           things they had said, and that "today is the day when I kill you."




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                                                                                                                         ••
                          Source: Sparks Pollee Department, Sparks, Nev.



                                                                      TRANSCRIPTION
                                                                      EXHIBIT 5
                                                                        0084
https://www.wsj.com/graphics/school-shooters-similarities/                                                                    5/10
10/4/2019                            Three Decades of School Shootings: an Analysis
       Case 3:19-cv-01226-L-AHG Document  21-21 Filed 11/12/19 PageID.4632 Page 90 of 109
                                                Dear teachers and students today is the day
                                                when I kill you bastards for the embarressment
                                                that you did. You say mean things in school.
                                                That I'm gay, that I'm lazy. Stupid, idiot,
                                                and also say that I pee my pants and also
                                                stealing my money. Well that all ends.
                                                Today I will get revenage on the students and
                                                teachers for ruinning my life. Today I will
                                                bring a god damn pistol and rifle to shoot you
                                                and see how you like it when someone making
                                                fun of you. Once I kill you your life will
                                                be noting but nightmare and bad dreams.
                                                I don't care if I have alots of bullets to
                                                shoot all of you cause I'm going to die tring on
                                                my last stand. And right now this school will
                                                now come to an end and your death will
                                                be rising when I shoot you. Have a great
                                                death at school.




                                                                       EXHIBIT 5
                                                                         0085
https://www.wsj.com/graphics/school-shooters-similarities/                                         6/10
10/4/2019
       Case                              Three Decades of School Shootings: an Analysis
                3:19-cv-01226-L-AHG Document  21-21 Filed 11/12/19 PageID.4633 Page 91 of 109




                            In 1997, 16-year-old Evan Ramsey entered Bethel Regional High School in Bethel,
                            Alaska, with a shotgun hidden under his jacket. He walked into a common area
                            and opened fire, killing one student and injuring two others. He continued on to
                            the main office, where he shot the principal, Ronald Edwards, who died in his
                            office.

                            A note found in his bedroom after the attack indicated he was seeking revenge
                            against the principal and others. It said he believed he would die after the attack.
                            He lived.

                          A note found in school shooter Evan Ramsey's bedroom,
                          Source: Court of Appeals, State of Alaska




                            At least 22 of 39
                            told someone or hinted at plans
                           0000000000000
                           0000000000000
                           0000000000000
                            Many of the shooters told someone or hinted at their plans, either in
                            conversations with friends or in online communications, in some cases in an
                            effort to keep friends safe. In 1998, 13-year-old Mitchell Johnson and 11-year-old
                            Andrew Golden killed five and injured 10 at Westside Middle School in
                            Jonesboro, Ark. In a later deposition, Johnson said he had warned a couple of
                            people the day before the shooting "please don't come to school" the next day.

                            In 2016, 14-year-old home-schooler Jesse Osborne took a gun from his father's
                            nightstand and shot him dead. Then, after kissing his pets, he drove his father's
                            truck to Townville Elementary School in Townville, S.C., where he killed one
                            person and injured three.

                            He told the police that a group of people from various countries had encouraged
                            his plan in Instagram exchanges.


                                       Instagram exchange between school shooter Jesse Osborne
                                                      and an unnamed person.



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https://www.wsj.com/graphics/school-shooters-similarities/                                                         7/10
10/4/2019                            Three Decades of School Shootings: an Analysis
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                                                      Should i shoot up my
                                                      elementary school or my
                                                      middle school



                                                      The middle school has tons of
                                                      cops



                                                      The elementry doesnt



                                                      And the elementry school is 4
                                                      mins away from my house



                                                      The middle schools 1 hr away



                                                                        Elementary those        are just
                                                                        disgusting little kids who
                                                                        grow up to be little " ' when
                                                                        they're older



                                                      Yep thats what i was thinking



                                                                        And yeah it's easier to go to
                                                                        the closest




                            Source: WYFF-TV, Greenville, S.C.




                            At least 26 of 39
                            had easy access to guns
                           0000000000000
                           0000000000000
                           0000000000000
                            The Journal analysis found school shooters mostly used guns owned by family
                            members.

                            Police found a large number of firearms in the home that Adam Lanza shared
                            with his mother, whom he killed before killing 26 at Sandy Hook Elementary
                            School in Newtown, Conn., in 2012. The socially isolated 20-year-old, who had
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                            been diagnosed with mental illness, had spent time online researching school
                            shootings, including downloading the investigation of the Columbine attack. He
                            kept a detailed spreadsheet on killers, sorted in order of the number killed.


             School shooter Adam Lanza kept a spreadsheet of mass killers.
             Source: Connecticut State Department of Emergency Services and Public Protection


                            In the home where Kip land Kinkel lived with his parents, police found a large
                            collection of guns and knives, and ingredients for making explosive devices. The
                            15-year-old, who was diagnosed with mental-health problems, first killed his
                            parents, then killed two people and injured 26 in a rampage at Thurston High
                            School in Springfield, Ore., in May 1998.

                            In an interview with a police detective after the shooting, he said that he got his
                            weapons from home.


                                                        Kipland Kinkel's Confession to Police




                                                      Okay.... So your dad has guns, right?

                                                                                                    Yes.

                                                      And where does he keep his guns?

                                                                     He usually keeps them in his tennis
                                                                     locker at the swim and tennis club.
                                                                      But we could always shoot it once
                                                                       in awhile and so they were home




                            Source: Springfield Police Department, Springfield, Ore.




                            At least 22 of 39
                            felt suicidal
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                           0000000000000
                           000000000000
                            Eric Houston knew it was possible he would die in a 1992 attack on his former
                            school, Lindhurst High School in Olivehurst, Calif. A note was found in the 20-
                            year-old's bedroom after he stormed the school, killing four and wounding


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                             several others. "If I die today please bury me somewhere beautiful," he wrote. He
                             lived, as did 72% of shooters in the incidents reviewed by the Journal.

                             In February 2012, Thomas Lane, then 17, went on a shooting rampage in the
                             cafeteria of Chardon High School in Chardon, Oltio, killing tlu·ee students and
                             injtu·ing tJu·ee others. Afterward, he sat in a ditch about a mile away and loaded a
                             gun to kill himself. He didn't do it.

                             Nick Walczak had limped from the cafetetia with three gunshot wounds, only to
                             be chased down by Lane and shot in the back. The last shot left him paralyzed.

                             "None of us were ever mean to hlm," Mr. Walczak says of the shooter. "If you had
                             asked me a day before, I would have told you that he's a good kid."




                             Methodology: Planned in advance indicates the shooter planned the elltack well rn advance, including plotting
                             to get wtoapans, researching other shooters, settmg a date for the attaclr or writing a letter explaining the
                             motive for the attack Bullied, sought revenge Indica tes the shonter felt bullreel or sought revenge for a
                             percerved wrong Easy access to guns 1nd~eates the shooter l<new where unsecured gun~ were rn the house
                             held access to home gun safes or purchased the guns thems~lves Told someone mdrcates the shooter told at
                             least one person about the com·rng attaclc. or alluded ro it verbally or In wrrtings.lext messages. vrdeo
                             recordtngs or on soctal media. Suicidal indicates the shooter planned to commtt sulctde after the attack or be
                             ktllcd by pollee

                             Credits:   D~stgn and development by Tyler Parge and Elbert   Wang




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    CALIFORNIA



   Everything we know about the San Bernardino terror attack investigation so far




    Syed Rizwan Farook, left, and a photo of Tashfeen Malik.                          <FBI)


    DEC. 14. 2015
    4:03PM



    Here's the latest updates on the investigation into Syed Rizwan Farook and Tashfeen Malik, the shooters who
    attacked Farook's office holiday party, killing 14 and wounding 22, in what officials believe was an act of
    terrorism. They were killed in a shootout with police shortly after. Since the Dec. 2 attack, investigators have
    been piecing together evidence in an effort to pinpoint exactly what motivated the couple, and how their plan
    went undetected.


    Latest in the investigation Farook's friend, Enrique Marquez Jr. was arrested Thursday and charged with
    conspiring to give material support to terrorists, according to federal documents that allege the two men had
    talked of attacking Riverside City College and a busy freeway during rush hour. READ MORE

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    Enrique Marquez, the neighbor




    Home in Riverside where Marquez lived next door to Farook. (Los Angeles Times)


    Enrique Marquez Jr., a 24-year-old Riverside man who worked as a Wal-Mart security guard, is a central figure
    in the investigation.


    He checked into a mental health facility on the day of the shooting and police searched his Riverside home --
    next door to Farook's old residence --shortly after the shootings. He was said to be good friends with Farook
    and cemented his connection to his next-door neighbor by marrying the sister of Farook's sister-in-law in 2014.
    In 2011 or 2012, Marquez bought two of the rifles Farook and Malik used in the attack. A law enforcement
    source said he converted to Islam at some point, but when is unclear.


    Marquez has waived his right to an attorney and been cooperative throughout marathon interviews with federal
    investigators, a law enforcement source said.


    According to a law enforcement source, Marquez told investigators Farook wanted him to buy the guns because
    he feared he "wouldn't pass a background check" if he attempted to acquire the weapons on his own.


    Marquez also told FBI agents Farook had made an earlier attack plan he didn't follow through on, according to
    a source.                                     By contHlUIIlg to use our 5111:!, you agree to our Terms of Service and Privacy Policy You
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   An even bigger attack was planned

   Two federal sources told The Times that before the shooting and their subsequent deaths, the couple was in the
   final glanning stages for an assault on a separate building or location "with a lot more people inside," possibly
   at a nearby school or co1lege. They based that assessment on data from digital equipment recovered from the
   couple's Redlands horne, all of which was smashed in an attempt to hide their activities.




   The weapons


      M&P15 rifl e
      Smtth & Wesson



                                                                                                                            9mm
                                                                                                                            Spnngf eld /4..rmory


                                                                                                  DPMS Model A w15 (.223-caliber)




                  Model 64 F* (.22-caliber rifle)
                  Savage Arms
        Not scaled in relationshtp to
      t.1e other weapons


    Farook and Malik used five firearms during the attack, and left behind three pipe bombs wired to a remote
    control. They did not detonate.


    The shooters fire over 150 rounds during the initial attack and during a gun battle with police afterwards. They
    had more than 1,400 .223 caliber rounds and more than 200 g-millimeter rounds with them.
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   Three of the gtms were purchased legally by Fa.rook between 2007 and 2012. He bought the handguns at
   Annie's Get Your Gun in Corona. Two ofthe rifles were purchased by Farook's friend and former neighbor,
   Enrique Marquez Jr., in 2011 or 2012.




   What we know about the previous attack plan

   Farook and possibly others may have planned a terrorist act as early as 2011 or 2012 but dropped it after four
   men were arrested- three of them in Chino -and ultimately convkteo in a P-lOt to kill Amt>ricans in
   Afghanistan , according to a government official.


   The official said Farook may have told at least one associate in 2011 or 2012 that he was considering a terrorist
   plot. It's not clear who the associate was, but Farool< friend Enrique Marquez Jr. told investigators about what
   Farook said, according to the official.


    FBI agents b elieve Farook abandoned his plans to launch the earlier attack after a law enforcement task force
    arrested the three men in November 2012. The men were later convicted of charges related to providing
    material support to terrorists and plotting to kill Americans in Afghanistan. Investigators are looking into
    whether the men had ties to Farook.



    They were talking generally about something, but I don't think it made it to anything specific. I don't think it
    got to a time or a place.
    Law enforcement official, on the previous plot




    The shooters' online communications

    The investigation is in part focused on Malik and Farook's digital lives, including h ow they communicated early
    in their relationship, and with terror groups.


    The couple jointly pledged allegiance to Islamic State on social media shortly before they were killed in a
    shootoutwith police, the FBI has said.

    Malik sent at least two private messages on Far~l.. --                         1
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   Farook used several dating and matrimonial websites, including BestMuslim.com, where he wrote he wanted
   "Someone who takes her religion very seriously and is always trying to improve her religion and encouraging
   others to do the same using hikmah (wisdom) and not harshness."


   FBI officials said that after the couple began dating online as early as 2013, they spoke to each other about jihad
   and martyrdom.


   Farook had some kind of digital contact with people from at least two terrorist organizations overseas,
   including the Al Qaeda-affiliated Nusra Front in Syria, a federal law enforcement official said.




   The K-1 'fiancee' visa




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   Two government sources told The Times Malik used the name of a neighborhood or street near her home in
   Pakistan, rather than her family's home address, on her application. Investigators have speculated that she did
   so to deflect any investigation of her family's reputed ties to Islamic militants in Punjab.


   K-1 applicants, like other visa applicants, undergo extensive counter-terrorism screening that includes checks
   based on fingerprints and facial recognition software. Questions for the partner seeking to come to the U.S.
   include: "Do you seek to engage in terrorist activities while in the United St ates or have you ever engaged in
   terrorist activities?" and "Have you ever or do you intend to provide financial assistance or other support to
   terrorists or terrorist organizations?"


    Read more




    The marriage

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    Malik and Farook's marriage license


    The couple met online, and Farook traveled to Saudi Arabia in 2013 to meet Malik in person. The two manied
    last year in Islam's holy city of Mecca in Saudi .
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   Asked whether the marriage might have been purposely arranged by a foreign terrorist organization to sneak
   them into the United States to conduct an attack, the FBI's director said he didn't know yet.




   Where the investigation is happening




    Al-Huda, the Islamic seminary Malik attended (Getty Images)


    Pakistan Where Tashfeen Malik was born, went to college and attended a women's Islamic seminary.
    Members of Malik's extended family live in Pakistan.


    Saudi Arabia Where Tashfeen Malik spent much of her childhood, and where Malik met Farook in person for
    the first time in 2013. The two met again in 2014, where they were married in Islam's holy city of Mecca in
    Saudi Arabia, before Farook brought Malik to the United States. Members of Malik's immediate family live in
    Saudi Arabia.
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   Marquez were neighbors until a few months ago. Farook practiced shooting with an AR-15 at the Riverside
   Magnum Range and attended a mosque there.




    Farook's father in Corona (Marcus Yam j Los Angeles Times)


    Corona Where Farook's brother, Syed Raheel Farook, has lived with his wife, Tatiana A. Farook, since
    February. Farook's father also lives there.


    Redlands Where Farook and Malik moved in May, the month their daughter was born.

    San Bernardino Where Farook and Malik began their shooting rampage and where the final shootout
    occurred between them and police. Also the location of Seccombe Lake, where FBI divers searched for
    electronics that may have been dumped by the shooters and removed several items. Farook also attended a
    mosque in the city shortly before the massacre.




    How they funded their attack

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               PROSPERP



                                                                $5 Billion Borrowed
                                                                250,000 people empowered




    (Screenshot via Prosper.com)


    Farook worked for the county as a health inspector, and many of the details of the couple's finances are not yet
    known. But in the weeks before the San Bernardino massacre, the husband-and-wife assailants got a $28,500
    loan, which authorities believe may have helped them acquire last-minute firearms, ammunition and
    components to build explosives.


    The couple received the loan from San Francisco online lender Prosper Marketplace, according to F01tune and
    Bloomberg News.


    Prosper is a leading player in the burgeoning world of online, peer-to-peer lending, acting as a middleman
    matching borrowers and investors who fund their loans.




    Why their plot wasn't detected

    Farook and Malik were unknown to law enforcr
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   How they were radicalized




    Al-Huda, the Islamic seminary Malik attended (Getty Images)


    Investigators believe the couple self-radicalized separately before meeting each other. Possible sources of
    radicalization investigators are looking into include:


    Malik

    •   Her family. Pakistani officials say they have questioned members of Malik's extended family in the Pakistani province of
    Punjab, an area that is considered a stronghold of Islamic militant organizations. Residents said the Aulakh family is known
    to have connections to militant Islam.
    • The Islamic seminary Malik attended in 2013. Pakistani security officials have questioned teachers and students there.

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   Mohamed Abdullahi Hassan (FBI via AP)


   Farook

   •    Overseas terrorist organizations. Officials are looking into contact Farook had contact with people from at least two
   terrorist organizations overseas, including the Al Qaeda-affiliated Nusra Front in Syria and Shabab in Somalia.
   • Mohamed Abdullabi Hassan, a former Minneapolis resident known as "Mujabid Miski" who became a recruiter for
    Islamic State and is alleged to have encouraged the attempted attack on a cartoon contest in Garland, Texas, earlier this year.
    Federal investigators are trying to determine if Farook was influenced by him.




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